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          OFFICE OF EQUAL OPPORTUNITY AND DIVERSITY (OEOD)
                       INVESTIGATION REPORT



      COMPLAINANT:                 Student

      RESPONDENT:                  Former Staff

      BASIS OF COMPLAINT:          Discrimination on the basis of color/race,
                                   citizenship, national origin, sex, and disability

      POLICY:                      Nondiscrimination Policy Statement for the
                                   University of California Publications Regarding
                                           Related Matters
                                   Student-Related

                                   UC Policy on Discrimination, Harassment, and
                                   Affirmative Action in the Work Place

                                                                        Harassmen
                                   UCI Guidelines on Discrimination and Harassment

      INVESTIGATOR:                Raid Faraj, Senior Investigator

      DATE:                                25, 2021
                                   January 25, 202




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PARTY KEY:

 Party         Name                     Title/Affiliation                    Date
                                                                             Interviewed
 Complainant Jackeline Muthoka          Medical Student, UCI School of       8/7/2020
                                        Medicine
 Respondent    Julianne Toohey          Former Associate Dean for Student    Did not contact,
                                        Affairs, UCI School of Medicine      no longer
                                                                             employed by
                                                                             UCI
 Current       Megan Osborn             Associate Dean of Students, UCI      10/1/2020,
 Associate                              School of Medicine                   10/8/2020
 Dean

WITNESS KEY:

 Witness      Name               Title/Affiliation             Provided By    Date
                                                                              Interviewed
 Witness 1    Ellena Peterson    Professor Emeritus,           Complainant    9/29/2020
                                 Pathology Department;
                                           Department;
                                 Associate Dean Emeritus,
                                 Admissions,
                                 School of Medicine
 Witness 2    Michael            Medical Student, School of    Complainant    Did not
              LoBasso            Medicine                                     respond,
                                                                              contacted
                                                                              9/29/2020
 Witness 3    Rosezetta          Senior Disability           Complainant      10/1/2020
              Henderson          Specialist, Disability                       12/8/2020
                                 Services Center
 Witness 4    Donald Forthal     Professor of Medicine-      Complainant      10/2/2020
                                 Infectious Diseases, School
                                 of Medicine Department
 Witness 5    Nathanael          Medical Student, School of Complainant       Did not
              Morales            Medicine                                     respond,
                                                                              contacted
                                                                              10/2/2020
 Witness 6    John Fox           Department                    Complainant    10/6/2020
                                 Chair/Professor of Clinical
                                 Emergency Medicine,
                                 School of Medicine




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 Witness 7    Ursula            Director, Admissions,        Complainant    Did not
              Worsham           School of Medicine                          respond,
                                Medical Education                           contacted
                                                                            10/2/2020
 Witness 8    Joy Kim           Registrar, School of         Complainant    10/6/2020
                                Medicine
 Witness 9    Elizabeth         Acting Associate Director    Complainant    10/7/2020
              Franklin          of Apartment Life, Verano
                                Place Housing
 Witness 10   Marissa Lovio     Former Medical Student,      Complainant    Declined
                                School of Medicine                          Interview
 Witness 11   Charles Vega      Health Sciences Clinical     Complainant    10/9/2020
                                Professor, Family
                                Medicine Department;
                                Director, UC Irvine
                                Program in Medical
                                Education for the
                                               he Latino
                                Community (PRIME-LC);
                                             (PRIME-LC);
                                             (PRIME-
                                Associate Dean, School of
                                                        o
                                Medicine
 Witness 12   Jia Tang          Medical Student, School of   Complainant    10/9/2020
                                Medicine
 Witness 13   Clay              Medical Student, School of   Complainant    10/9/2020
              Thibodeaux        Medicine
 Witness 14   Shadi Lahham      Assistant Clinical           Complainant,   10/9/2020
                                Professor, Emergency         Witness 6
                                Department; Director of
                                Emergency Ultrasound;
                                Assistant Residency
                                Program Director
 Witness 15   Ashley M Selva    Learning Skills Counselor,   Complainant    Declined
              Rodriguez         School of Medicine                          Interview
                                Medical Education
         1
 Witness 16   Karen Andrews     Director, Disability         Complainant    10/16/2020
                                Services Center
         1
 Witness 17   Rick Jones        Former Research              Complainant,   No contact
                                Coordinator, Emergency       Witness 14     information
                                Medicine, School of                         found
                                Medicine
 Witness 18   Victoria Valdes   Former UCI                   Complainant,   No contact
                                Undergraduate Student        Witness 14     information
                                                                            found
 Witness 19   Luis Medina       Former Director, Financial   Complainant,   Did not contact,
                                Aid Services-School of       Witness 8      no longer



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                                                                             employed by
                                                                             UCI
 Witness 20   Faith Njoku      Former Medical Student,      Complainant      No contact
                               School of Medicine                            information
                                                                             found
 Witness 21   Jerusalem        Medical Student,             Complainant      Did not
              Tilahun          School of Medicine                            respond,
                                                                             Contacted
                                                                             Contacted
                                                                             10/28/2020
 Witness 22   Carly Nguyen     Administration and           Associate        1/13/2021
                               Finance Director, Medical    Dean of
                               Education, School of         Students, UCI
                               Medicine                     School of
                                                            Medicine
 Witness 23   Victoria Jones   Chief Global Affairs         Diana            1/14/2021
                               Officer and Associate Vice   Stephens,
                               Chancellor Global            Education
                               Engagement,                  Administrator,
                               Office of Global             Institute for
                               Engagement                   Clinical and
                                                            Translational
                                                            Science
 Witness 24   Guiyun Yan       Professor, Public            Diana            1/14/2021
                               Health/Administration
                               Health/Administration        Stephens,
                               Department                   Education
                                                            Administrator,
                                                            Institute for
                                                            Clinical and
                                                            Translational
                                                            Science
 Witness 25   Diana Stephens   Education Administrator,     Associate        1/14/2021
                               Institute for Clinical and   Dean of
                               Translational Science        Students, UCI
                                                            School of
                                                            Medicine
 Witness 26   Khanh-Van Le-    Associate Vice Chancellor,   OEOD             1/15/2021
              Bucklin          Education,
                               UCI Health Affairs and
                               Vice Dean, Medical
                               Education

 Witness 27   Carol Major      Assistant Dean, Medical      Associate        1/15/2021
                               Education; Professor,        Vice
                               Obstetrics & Gynecology      Chancellor,
                                                            Education


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                              Department, School of        UCI Health
                              Medicine                     Affairs and
                                                           Vice Dean,
                                                           Medical
                                                           Education
 Witness 28   Christian       Pastor, Mariners Church,     Complainant    Not contacted
              Mungai          Irvine
 Witness 29   Linda Kazibwe   Complainant's family         Complainant    Not contacted
                              representative
 Witness 30   Sophia Spann    Former Research              Complainant    No contact
                              Coordinator of Ultrasound                   information
                              in Medical Education                        found




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                  OFFICE OF EQUAL OPPORTUNITY AND DIVERSITY (OEOD)
                               INVESTIGATION REPORT

     BACKGROUND
                                                                                                        *"t),
     In May 2020, Complainant submitted a complaint with OEOD alleging that Complainant was            C
                                                                                              §
                                                                                              disability
     subject to discrimination on the basis of color/race, citizenship, national origin, sex, disability,
     and retaliation.

              itial complaint, Complainant alleged that she was subjected to retaliation by the Chief
     In her initial
     Health Sciences Counsel. However, after assessing this portion of the complaint, the information
     provided did not establish an actionable complaint of retaliation under University policy.
     Therefore, OEOD was not able to accept those allegations for a formal investigation. Thus, oon
                                                     nto allegations that Respondent engaged in
     July 2, 2020, OEOD initiated an investigation into
     discrimination against Complainant based on color/race,
     disability.
                                                                  ,c
                                                            ce, citizenship, national origin, sex, and



                                                            . -s>~ ev'  2019 Thus, the new
     Respondent is retired and no longer working at UCI, effective June 2019.
     Associate Dean of Students at the School of Medicine was noticed as the Respondent in this case
     and is referred to as the                                      report
                                                                    report.

     On November 10, 2020 extension was granted to accommodate the unavailability of key
                                                                      evidence, and the completion of
     witnesses or parties, unavoidable obstacles to gather important evidence

                                            C'             ~
     the draft review. Thee completion date for the investigation has been revised to December 23,
     2020. On December 18, 2020, OEOD emailed Complainant and the New Associate Dean


                                   c❖ ~~°'
     OEOD, informing them that OEOD amended the due date for the final investigation report in this
     matter to
             o account for the extension in the draft review process as well as the business days lost to
     the campus curtailment. The due date for this matter was revised to January 25, 2021.

     ALLEGATIONS
                       ~~~ ~~~
     It is alleged that Complainant was subject to discrimination ((disparate treatment) based on
     Comp!~           co or/race, c~     p, national origin, sex, and disability.

     Specifically, Complainant alleged that Respondent, in her role as Associate Dean in the School
     of Medicine, treated Complainant differently based on her color/race, citizenship, national origin,
     ~          en Respondent did not sponsor Complainant's project in Kenya in 2016 -2017, yet
 ~ "'Ve:J    approval and funding for a white male student's project in Kenya in 2018 -2019.


~G   It is also alleged that Respondent demonstrated discriminatory animus when she told
     Complainant that she should go back to her country, although Complainant is a U.S. citizen.

     It is alleged that even though Complainant had a registered disability with the University's
     Disability Services Center (DSC), Respondent told Complainant that she did not have a disability
     but rather had trouble with language comprehension because of her national origin. It is alleged


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that Respondent shared Respondent's belief that Complainant did not have a dis ability with
DSC, Housing staff, and administrators of a national exam, which interfered with Complainant's
access to accommodations and resulted in Complainant losing her housing.

APPLICABLE POLICIES AND PROCEDURE:

Code of Student Conduct Appendix C
Nondiscrimination Policy Statement for the University of California Publications Regarding
Student-Related Matters
The University of California, in accordance with applicable Federal and State law and University
policy, does not discriminate on the basis of race, color, national origin, religion, sex, gender
identity, pregnancy, physical or mental disability, medical condition
                                                                ondition (cancer related or genetic
characteristics), ancestry, marital status, age, sexual orientation, citizenship, or service in the
uniformed services. The University also prohibits sexual harassment. This nondiscrimination
policy covers admission, access,
                              ess, and treatment in University programs and activities.

UC Policy on Discrimination, Harassment, and Affirmative Action in the Work Place (Section
III.A. General)
       A. General
          The University prohibits discrimination against any person employed; seeking
          employment; or applying for or engaged in a paid or unpaid internship or training
          program leading to employment with the University of California on the basis of race,
          color, national origin, religion, sex, gender, gender expression, gender identity,
          gender transition status, pregnancy, physical or mental disability, medical condition
          (cancer-related
                   related or genetic characteristics), genetic information (including family
                             ancestry, marital status, age, sexual orientation, citizenship, or
          medical history), ancestry,
          service in the uniformed services, including protected veterans. This policy applies to
          all employment practices, including recruitment, selection, promotion, transfer, merit
          increase, salary,
                    salary, training and development, demotion, and separation. In addition, the
          University prohibits harassment based on the above protected characteristics of an
          employee, applicant, paid or unpaid intern, volunteer, person participating in a
                               employment, or person providing services pursuant to a contract.
          program leading to employment,

UCI Guidelines on Discrimination and Harassment (Sections C.1 Prohibited
Conduct Discrimination)

   1. Discrimination (differing treatment) is unequal treatment of an individual or group of
      people based upon race, color, national origin, religion, sex, gender, gender expression,
      gender identity, gender transition status, pregnancy, physical or mental disability, medical
      condition (cancer-related or genetic characteristics), genetic information (including
      family medical history), ancestry, marital status, age, sexual orientation, citizenship, or
      service in the uniformed services where there is no legitimate reason for such treatment.



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  OEOD INVESTIGATION

  Parties were advised of the process and timeline of this investigation and the standard of
  evidence relied upon, the preponderance of evidence. Both parties were advised of their rights,
  options, and resources. They were asked to keep information related to the investigation
  confidential to the extent possible to allow this investigator to conduct a thorough and fair
  investigation. Testimony was not given under oath. The investigation proceeded under the good
                     nd instruction to participants to answer truthfully. All participants were further
  faith expectation and
  advised that they are subject to the policies prohibiting retaliation for either bringing a claim or
  participating in an investigation and thus they should not retaliate. Bothth parties were provided
  with the opportunity to review a summary of the statements provided by the other party and
  witnesses prior to the finalization of this report. All documents and evidence, as permitted by
  privacy and confidentiality provisions, were made available to the parties to review and respond
  to during the investigation.

  COMPLAINANT'S STATEMENT

  Complainant was interviewed on
                                                              with the opportunity to review a
                                    Complainant was provided with
  draft report and all evidence on November 20, 2020,
                                                2020, until December 9, 2020. The below is a
  summary of Complainant's testimony and written statements.

                                                 Post Baccalaureate Program1 in Fall 2015 as a
  Complainant joined UCI's School of Medicine Post-Baccalaureate
  conditional medical student. Complainant said that the progr
                                                         program admits students with low
  Medical College Admission Test (MCAT) scores. Complainant did well in the Post-
  Baccalaureate Program, and in Fall 2016, she became a full
                                 all 2016                 full-time medical student.

                                                                     full-time medical student, she
  Complainant alleged that shortly after she began her studies as a full
  was subjected to discrimination on the basis of her color/race, citizenship, national origin, sex,
                                                   Dean of Student Affairs, School of Medicine.
  and disability by Respondent, former Associate Dea
  Complainant specifically made the following allegations against Respondent:

  Ultrasound Trip to Kenya


      0-<$
  Complainant alleged that Respondent treated her differently based on her color/race, citizenship,
  national origin, and sex when Respondent did not sponsor Complainant's project in Kenya in
  2016 2017, yet Respondent granted approval and funding for a student project in Kenya in 2018-
  2016-2017,




~
 c>
  2019 to Witness 2, a white male student.

  Complainant stated that in Fall 2016, she enrolled in a service-learning project class with
  Witness 11, Health Sciences Clinical Professor, Family Medicine Department. Complainant said
  that she developed a proposal for an ultrasound project, and it was approved by Witness 11. The
  project consisted of two components, a water project and a research project. Complainant

  1
   The program is designed to assist disadvantaged applicants in gaining acceptance to medical school, with the
  ultimate goal of increasing the number of physicians in underserved areas.

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proposed to carry out her project in Kenya, an Eastern African country. Complainant added that
several UCI medical students were interested in joining her in Kenya to work on this project,
including Witnesses 12 and 13.

Complainant stated that sometime in Fall 2016, she learned that there was a travel advisory                         *"t),
warning to Kenya by the U.S. State Department. However, the travel advisory did not include the
area Complainant and the other medical students in her group intended to travel. Complainant
                                                                                                             '::S)-c
stated that the travel advisory said that travelers needed to be "careful" but did : o~ban travel to     ~
Kenya. Complainant stated that she shared the travel advisory warning with the other medicamedical
students; however, all of them wanted to travel to Kenya, and "nobody backe~            based
                                                                                         ..,,, on the
advisory.


Complainant stated that she submitted her IRB proposal to UCI's IRB Office
                                                                      Office in January
                                                                                       6
Complainant stated that her project required an Institutional Review Board2 (IRB) approval.
                                                                                   0
2017.3Complainant said she only corresponded with the IRB Office through email. Complainant
                                                                            ~~
noted that she was supposed to travel to Kenya in May 2017 to set up the logistics for the project,
                                                                                           project


                                                                 -~oJ ~~'
and that the other students were supposed to follow her in July 2017.
                                                                2017

Complainant stated that around March 2017, Respondent told her that due to the travel advisory
warning to Kenya by the U.S. State Department, she would not be able to get IRB approval or
funding (approximately $1,000) for her project• .A i ~ai~ ~            that she was in a "difficult
position" because she already paid for her flight  -«:,,,
                                                  tickets and
                                               '\,'t-' r'v \  lodging
Complainant said that she, along with the other members of her group
                                                                       accommodations.
                                                                  group, raised around $18,000 for

                                             C'                ~
their trip.. Complainant added that Respondent did not tell her that she could not travel to Kenya
                                                        continue with their travel plans.
and as a result, Complainant and her group decided to contin
                                                                                             Kenya,



                                    c❖ ~~°'
Complainant stated that before she trave
                                     traveled
                                           led to Kenya,
                                                  Kenya she shared letters with Witness 6,
ultrasound project coordinator, from the Kenyan government and the Kenyan Consulate in Los

               -OS;~ ~~~
Angles. These letters indicat ed that it was safe to travel to Kenya. However, Complainant
                       indicated
pointed out that the IRB office did not approve of her proposal before she traveled to Kenya in
May 2017. Complainant stated that in July 20172017, the other group members joined her in Kenya,
              ~ ~
and they worked together on the project for approximately five to six weeks. Complainant
                    '\,-
indicated that while in Kenya, the IRB office continued to ask her and the other members of the


2
    ~o
  Under the U.S. Food and Drug Administration (FDA) regulations,
                                                           regulati    an IRB is an appropriately constituted group
that has been formally designated to review and monitor biomedical research involving human subjects. In
                                                                                                       se
accordance with FDA regulations, an IRB has the authority to approve, require modifications in (to secure
approval), or disapprove research. The purpose of IRB review is to assure, both in advance and by periodic review,
that appropriate steps are taken to protect the rights and welfare of humans participating as subjects in the research.
To accomplish this purpose, IRBs use a group process to review research protocols and related materials (e.g.,
informed consent documents and investigator brochures) to ensure protection of the rights and welfare of human
subjects of research (www.fda.gov).

3
  In response to the draft report on December 9, 2020, Respondent said she "started IRB editing with ultrasound
research coordinators at end of January/early February and IRB was submitted to UCI IRB office in March/April
2017."

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 group for "edits" regarding the same information that they already provided and kept "dragging"
 out the IRB approval process.

 Upon their return to California in August 2017, the IRB office 4 informeded Respondent and the
 other group members that they would not approve their IRB proposal for their project because
 they were already back from their trip. Complainant stated that while in Kenya, they were able to
 carry out their research; however, they weree not able to use the data that they gathered to write a
 research paper because they did not receive prior IRB approval.

 Complainant stated that sometime in Fallall 2017, Respondent sent Complainant an email saying
 that she checked the U.S. travel advisory and found that Kenya still had a travel warning.
 Complainant stated that at this point, she was not part of the ultrasound group meetings and did
 not have plans to travel to Kenya in 2018. Complainant said that medical students went on
 ultrasound trips annually.

 Complainant stated that another student (Witness 20),, who is also from Africa,
                                                                          Africa was denied
 fundingg and IRB approval for her trip to Nigeria. Complainant said
                                                                know why the IRB was not
 scheduled for May 2017, but it was canceled, and she did not know
 approved.5 Complainant said that Witness 20 left UCI in 2018 due to possible health-related
 issues. Additionally, Complainant alleged that sometime in 2019,
                                                              2019 she found out via School of
 Medicine email that Witness                                           2019 6 Complainant said
                        itness 2 planned to travel to Kenya in August 2019.
 that Witness 2 was approved to travel to Kenya even though that the U.S. State Department had a
 travel advisory warning during that period similar to the one in place during 2016-2017 when she
 traveled to Kenya.

 Discriminatory Comment

 Complainant alleged that Respondent demonstrated discriminatory animus towards Complainant
 when she told Complainant that she should go back to her country, although Complainant is a
 U.S. citizen.

 Inn early May 2018,
               2018, Complainant took
                                    took the National Board of Medical Examiners (NBME),
                                                                                       (NBME)
 United States Medical Licensing Examination ( USLME) examination (Step 1 exam), a national
 exam required by all second-year medical students. In late May 2018, Complainant learned that
 she failed the exam.
                exam Complainant stated that not doing well on her exam created a "stressful
                                                a student has only three attempts at passing the Step
    exam, and per UCI guidelines, a student must pass the exam within one year after failing the
 1 exam
 exam. Additionally, in July 2018, Complainant failed her Surgery Clerkship class. Complainant
 stated that she did not retake the class and that there is a one-year deadline to retake the course.


 4
   In response to the draft report Complainant indicated that it was Witness 18, research coordinator, who informed
 her.
 5
   In response to the draft report Complainant said that she "did know that there was a travel advisory to Nigeria at
 that time as well."
 6
   In response to the draft report Complainant said that Witness 2 planned to travel to Kenya in Summer of 2019.

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 Complainant stated that sometime around June 2018, Respondent requested to meet with
 Complainant about her Step 1 exam failure. Complainant told Respondent that she failed her
 exam because she did not receive a time and a half accommodation on her exam. Complainant
 told Respondent that she provided documents to the Disability Services Center (DSC).
                                                                                      NBME
 Respondent then asked Complainant if she could help her communicate with DSC and NBME.

 Complainant said that Respondent followed up with NBME and told them that Complainant has
 "language" proficiency issues7. Respondent then told Complainant that NBME would not
 provide Complainant with a time and a half accommodation on her exam. As a result,
 Complainant called NBME and asked them if they shared their decision with Respondent.
 However, NBME informed Complainant       ant that they do not share their decisions over the phone
 and that they always communicate their decision through a letter. Complainant stated that when
 she asked the new Associate Dean8 about the letter, the New Associate Dean told Complainant
 that she could not find the letter. The New                                          s Registrar Office
 at the School of Medicine to call NBME to inquire about the letter. NBME informed the
 Registrar's Office that if they sent a letter, it would have been sent directly to C
                                                                                    Complainant.
 Complainant said that she never received such a letter.

 Complainant stated that since Fall 2018, she has been on an academic leave of absence to study
 for her Step 1 exam. Complainant stated that she retook the Step 1 exam in October 2018;
 however, she did not pass a second time.

                                     2020 the Committee on Promotions and Honors9 (P&H)
 Complainant added that in January 2020,
 scheduled a hearing to discuss her academic probation 10 because she has not passed her Step 1
                                      ailed the exam. Ultimately, the P&H hearing was postponed
 exam in one year from the date she ffailed
 and was held on March 9, 2020, instead. Complainant stated that the hearing committee decided
 to put her on probation, in which time she needed to retake and pass the Step 1 exam first and
 then retake the Surgery Clerkship class. Complainant said that Witness 4 (the chair of the P&H),
 Respondent, the former DSC Director11                         attorney were present at the hearing.
 Complainant felt that Witness 4 sided with Respondent regarding Respo ndent's comment to
                        should go back to her country Complainant said that Respondent made a
 comment to her during a meeting on April 25, 2019. Complainant stated that during the same
                                                        between Respondent and former DSC
 Director                                         proficiency issues.12
 7
 8
   The new Associate Dean of Student Affairs assumed her position in JuneJ     2019.
 9
   The Committee on Promotions and Honors (P&H) is a standing committee of the faculty and is charged with
 monitoring student academic progress, taking appropriate action for students in difficulty, and making
                                      hono leaves of absence, dismissals, and graduation. The Committee functions
 recommendations for promotions, honors,
 and renders recommendations in accordance with the rules adopted by the School of Medicine Academic
 Senate. The Committee monitors the progress of all students throughout their educational experience, identifies
 individuals in either academic or professional difficulty, evaluates the individual situation, and develops a plan as
 appropriate.
 10
    In response to the draft report Complainant said the purpose of the hearing was to "discuss her academic
 challenges around Step l."
 11
    In response to the draft report, Complainant said it was "current DSC Director."
 12
    In response to the draft report, Complainant the reference was "language issues."

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        Complainant stated that on March 16, 2020, P&H sent her a letter saying she needed to take her
        Step 1 exam (third attempt) by May 3, 2020. However, Complainant noted that through her
        counsel, she requested that the May 3 deadline be extended due to COVID-19. Complainant
        indicated that NBME gave her a "place holder13"to take her Step I exam by August 30, 202~"b,
        However, she did not hear back from NBME regarding the deadline to take her exam.


                                                                                                              ~
        Complainant stated that she plans to retake the Step 1 exam in the Summer of 2020.

        Non-Accommodation due to Disability

        Complainant alleged that even though she had registered her
        Disability Services Center (DSC), Respondent told Complainant thatt she did not have a
        disability. Instead, she had trouble with language comprehension 14 because of her national
        origin. Complainant alleged that Respondent shared Respondent's i oef that Complainant did
        not have a disability with DSC, Housing staff, and administrators of a national exam, which
                                                                                  ~~
        interfered with Complainant's access to accommodations 15 and resulted in Complainant losing
        her housing.

        Complainant stated that in early 2017 she registered her
        Center (DSC)
                                                                       -~OJ ev'
                                                             her disability with the Disability Services

        exams and time and a half on her exams.

        Complainant stated that in August 2017,
                                             2017 she met with Witness 3 from the DSC
                                                                                   D Office to go over

                                                    C'                ~
        her application for NBME Step 1 exam accommodation application form. Complainant said that
        she submitted the accommodation application form to NBME in August 2017, requesting time

                                              ~
        and a half on her Step 1 exam. On December 1, 2018, NBME requested a comprehensive
          psychiatric evaluation for Complainant, instead of the brief evaluation that she initially filed.
        "
        Complainant  " said that she emailed Witness 3 ~
                                                       and°told
                                                             ' her what she has learned from NBME.
        Witness 3 told Complainant that she only submitted to NBME documents already in

        DSC a comprehensive psychological evaluation. Complainant stated that NBME denied her
        accommodation request on January 2, 2018,
                                               20 because she did not have a thorough psychological
        assessment and did not have a neuropsychological
                                        neuropsychological evaluation. Complainanat acknowledged that

                  0
        she did not have either one of these evaluations.

       Complainant stated that in April 2018,
                                         201 Witness 3 told Complainant she spoke with NBME about
       . Q ~t's accommodation request. NBME told Witness 3 that Complainant's application

 G   ~ ~
      ~
             not qualify for a disability" accommodation. In May 2019, Complainant (with DSC's
       help appealed NBME' s January 2, 201 8 denial of accommodation letter. In response, NBME
       help)

~~      13
           In response to the draft report, Complainant indicated that she requested this date as a "placeholder" because she
~       "did not know when she would hear back from the NBME, schedule, and take her Step 1 exam" and that she "plans
        to take the Step 1 exam as soon as her reasonable accommodations are granted byNBME."
        14
           In response to the draft report Complainant said Respondent told her that she had "language issues as a foreign
        student."
        15
           In response to the draft report Complainant stated that not having reasonable accommodation caused her to fail
        Step 1 exam "multiple times."

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  agreed to offer Complainant a private room for her exam and an extended break. However,
  NBME denied Complainant's request for a time and a half for her Step 1 exam. Complainant
                                                                                   ing specialist
  then appealed NBME' s decision hased on a recommendation by Witness 15, a learning
  at the School of Medicine.
                                                                                                                             *"t),
  Complainant stated that Witness 3 knew that she planned to submit an appeal from NB~         C
  decision of January 2, 2018;; however, Witness 3 told Complainant that she already called NBME
  in April 2018 and that NBME told Witness 3 that Complainant did not "qllilli~       that specific              ~
  accommodation.



                                                                         " ,o"6
  Additionally, Complainant stated that Respondent did not help her to secure housing at Verano
  Place Housing (Verano). Complainant said that her leave of absence as a medical student expired
  on May 1, 2019. Complainant noted that Verano tried very hard to help her,  her and they
  explained to Complainant that she only could continue to live at Verano if (1) she was a full-time
  medical student, (2) had an exceptional circumstance, or (3) ha
                                                               had
                                                                 d a letter of support from
                                                                                       fro the
  School of Medicine. Complainant stated that she met with Respondent on April 25, 2019 2019, to
  discuss her housing problems and overall challenges. Complainant told Respondent that if she
  could not continue living on campus, she would becom~             ss.'(f!!Ji~dent then told
  Complainant, " If it is that difficult for you, why            d°&'"'\t~ ~Ji country?" Respondent
  was also not supportive and discriminatory when she incorrectly told housing that Complainant
  was a "foreign student" and that Complainant ~ ~ ~ Respondent also did not
  provide a letter to Verano explaining why it was important for Complainant to continue to live
  on campus.16

  On April 18, 2019, Complainant met with
                                                  c,~ ~'v
                                         with Witness 9, Verano Place Housing Acting Director, to
  speak about her housing challenges. Witness 9 told Complainant that she talked to Respondent
  about Complainant's situ:atio~        ver, Rc , , ~t did not mite a letter of support to
  Complainant to stay att Verano because Respondent did not know whether Complainant would be
  able to pass her Step 1 exam or not.
                                    not Complainant stated that ultimately housing decided to
                                e;~ ~e;~
  extend her ability to live at Verano Place Housing until
                                                     unti May 30, 2019.

                 '$:)
  Complainant stated
                   ~ tha as ~           Respondent's lack of support, Complainant started raising
  concerns about Respondent. For example, Complainant recalled sharing some of her worries


  ~o
  2019,
         Respo ndent not being supportive of her with witnesses 1 and 7.17 However, around July
         Respondent
  about Respon
   019,, Respondent left UCI. Complainant learned later that Respondent had retired.
   019


 ~o
  Complainant believed that had Respondent done her job, she would not have gone through all of
        challenges.
  these challenges



~G-In-re_s_p-on_s_e-to_t_h_e_dr_a_ft_r_ep_o_rt_C_omplainant
  16                                                        added that "Respondent wrote a discriminatory letter after the housing
  decision had been made final. In addition, the letter lacked pertinent information that was requested by the housing
  office. Furthermore, when the Respondent wrote this letter, she was also required to inform Complainant so that the
  Complainant could writea letter that would accompany the Respondent's letter. The Respondent never informed the
  Complainant when she sent the letter to the housing office. "
  17
     In response to the draft report Complainant included Witness 15 as well.

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 NEW ASSOCIATE DEAN STATEMENT

 The New Associate Dean was interviewed on October 1 and October 8, 2020. The New
 Associate Dean was provided with the opportunity to review a draft report and all evidence from
 November 20, 2020, until December 9, 2020. The below is a summary of the New Associate
 Dean's testimony.

 The New Associate Dean said that she did not know what issues Complainant encountered
 between January 2019 and June 2019. The New Associate Dean said that when Respondent
 retired in June 2019, she became the New Associate Dean effective July 1, 2019,
                                                                           2019 and only then
                                                              18
 she became more aware of Complainant's academic problems . The New    ew Associate Dean stated
 that on July 23, 2019, she emailed Complainant to find out why she did not take her Step 1 exam.
 The New Associate Dean knew at this point that Complainant took the Step 1 exam the first time
 on May 7, 2018, and then the second time on October 30, 2018;; however, Complainant failed
 both exams.

 Additionally, the New Associate Dean knew                    2018, Respondent emailed
                                         new that on May 30, 2018
 Complainant to touch base with her for not passing her Step 1 exam. Additionally, on June 18,
 2018, Complainant emailed Respondent, asking if she heard from NBME about accommodating
                                                                             NBME, and they
 her for the Step 1 exam. Respondent told Complainant that she did hear from NBM
 denied Complainant's accommodation request. The New Associate Dean stated that the School
 of Medicine was not the decision-maker
                                  maker regarding NBME student accommodations.

 In January 2019, the New Associate Dean19 wrote a letter to Complainant, informing her that
 since she did nott pass her Step 1 exam, per School of Medicine policy, Complainant needed to
 pass the Step 1 exam by March 15, 2020. Complainant was informed through the same letter that
                                                                                  However,
 if she did not pass the Step 1 exam, she would be subject to academic probation. Howe


                                       New Associate Dean in July 2019, Complainant told the
 New Associate Dean that the School of Medicine did not help her with her housing needs
 because Respondent                 an adequate letter of support to Complainant regarding
              pondent did not write an
                                     The New Associate Dean told Complainant that she would
 contact housing to inquire about her situation. The New Associate Dean said that she contacted
                      Verano Place Housing Director and was informed that since Complainant was
 the assistant to the Ver
 no longer enrolled as a student at UCI (academic leave of absence since Fall 2018), Complainant
 was required to vacate from Verano in April 2019. However, Housing extended Complainant's
 stay at Verano until May 30, 2019. Complainant was asked to provide a letter clearing her from
 her leave of absence by May 1, 2019; however, Complainant did not do so and kept arguing that
 she should stay in housing despite being on academic leave. Ultimately, Housing told

 18
    In response to the draft report on December 9, 2020, the New Associate Dean clarified that" She stated that she
 was aware, through her previous role as Chair of Promotions and Honors Committee, that Complainant had note
 [sic] passed the Step 1 exam."
 19
    In response to the draft report, the New Associate Dean added," in her previous role as Chair of Promotions and
 Honors."

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             Complainant that she must vacate by the end of May 2019, and Complainant left. The New
             Associate Dean said that Complainant might still be on academic leave.

             The New Associate Dean said that when she met withth Complainant, Complainant also told her
             that Respondent told NBME that Complainant had language issues. Ass a result, she was denied
             an accommodation for her Step 1 exam. The New Associate Dean told Complainant that she
                                                                                                                           ~~
                                                ondence between Respondent and NBME. The New
             would look into any written correspondence
             Associate Dean did not find any correspondence, and Complainant did not provide any
                                                                                  writing 20
             documentation showing that NBME communicated with Respondent in writing.
                                                                                                                 §
             The New Associate Dean added that Complainant also did not pass the exam for the Surgical
             Clerkship class in 2018. As a result, Complainant received an incomplete
                                                                                    plete grade,
                                                                                          grade and no grade
             was posted. The New Associate Dean said, like for the Step 1 exam, Complainant had one year
             to pass the exam. However, Complainant

             not paid in the Summer 2018 or Winter
                                                                                    ,o
                                                  inant did not retake the Surgical Clerkship exam. The New
             Associate Dean stated that since Complainant was not enrolled as a student, her financial
                                                                                                 fina
                                                inter 2019. As a result, Complainant owed a substantial
                                                                                                        aid was

             amount of money. The New Associate Dean told Complainant that for her to re-enroll,
                                                                                             re       she
                                                                               n~ ~'v'
             needed to pass her Step 1 exam and address her financial aid situation.
                                                                            situation
                                                                           • 'S>'Y)
                                                                                      21



             The New Associate Dean stated that Complainant hearinghearring with P&H
                                                                   hea           P&H was repeatedly postponed
             and was ultimately
                             tely held on March 9, 2020. At• the
                                                              ~ he
                                                                 he      ,~ ~ant said that ''no one
                                                                               rt\
                                                         Associate Dean said that this was inaccurate because
             helped" regarding her situation. The New~"\,~'
                                                                                  issues.22
             she spent at least twenty hours trying to help Complainant with her issues

                          sociate Dean recalled that prior
             The New Associate
                                                  ~~
             Respondent said "go back to your country,
             a "language disorder." The New~
                                                        c'- ~
                                                      prio to the P&H
                                                 country " and
                                                Associate
                                                  -       Dean
                                                                  P&H hearing,
                                                                     ~
                                                                        hearing Complainant told her that
                                                                   Respondent "diagnosed" Complainant with
                                                            ~ noted that, based on discussions with the
             Respondent,                                            . The New Associate Dean explained that
             Respondent told her it was Complainant who said that she spoke multiple languages
                                                                                         languages, that this
                                                    information. As a result, she needed more time on her
             interfered with her ability to process information
             exams. Respondent said that she was simply repeating what Complainant told her. The New
             Associate Dean said that Respondent reiterated the same information during the P&H hearing on
             March 9, 2019. However, Complainant denied that sshe made these comments (Regarding
                       issues)) to Respondent.
             language issues

             o~o
        ~In response to the draft report, Complainant said that she did not ask the New Associate Dean to look for "any
      ("'    20

~   '\..V        itten information." Complainant said that ,~he only wanted the New Associate Dean to "inquire about what
             transpired between NBME and Respondent.
             21
'-.)            In response to the draft report, the New Associate Dean clarified that "since Complainant had incomplete grades
             on two of her clerkships, her financial aid was not paid in the Summer 2018 or Fall 2018 quarters. As a result,
             Complainant had a balance on her student account." The New Associate Dean also told Complainant that " in order
             for her to re-enroll, she needed to pass her Step 1 exam as well as address her financial aid situation."
             22
                In response to the draft report the New Associate Dean clarified that said that this was inaccurate because she
             spent several hours trying to help Complainant with her issues."



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     Nonetheless, the New Associate Dean said that based on the DSC intake form that Complainant
     filled out, Complainant said, "I speak multiple languages, and that interferes with my
     information processing time. I would really appreciate it if I get additional time while taking
     exams." The New Associate Dean said that Respondent was not diagnosing Complainant.
     Additionally,, when the New Associate Dean asked Respondent if she ever told Complainant     nt to             *"t),
     go back to her country, Respondent said that when Complainant failed her first Step 1 exam in                  C
     May 2019, Complainant was in a "state of despair." Respondent tried to support Compl~              y
     telling her what she needed to do. Respondent told Complainant that it was "n~~ t~ ~1-'the
     world." Respondent asked Complainant, "is there an opportunity for you to tr~          y , a?"
     Respondent said she made this comment inn case it was difficult for Complainant to find a school
     to match with in the U.S. for her residency and because Complainant is from Kenya and had



     Complainant to " succeed."
                                                                                  6
     family members there. Respondent noted that the context of her conversation with Complainant
     was"solution-based" and denied that she told Complainant to go back to her country. The New
     Associate Dean said                                      Complainant, and Respondent wanted
                       aid that Respondent was trying to help Complainant,
                                                                                ,c
                                                                  P&H hearing, Complainant told her
     Additionally, the New Associate Dean said that prior to the P&H
                                                                         n~              '-
                                                                               hearing 23 The New
                                                                  -~"YJ
     Associate Dean said that she relayed this information to UCI counsel.        ~'v
     that she might bring an attorney as a representative to her March 9, 2020 hearing.



                                                         -~-s (\'\V
     The New Associate Dean said that IRB approval is necessary for any medical student who
                                                                       2017, the School of Medicine
     intends to do research. The New Associate Dean recalled that in 2017
     started to adhere to the U.S. State Dep~-% travel ~             - The New Associate Dean
     recalled that there were medical students who wanted to travel to other countries on the State
     Department's travel warning list. As
     these trips.
                                                Q
                                        As a result,        D"-.;,
                                             result, the School of Medicine did not financially support


                                      c❖ ~~                Kenya in October 2019 but did not know if
     The New Associate Dean said that Witness 2 went to Keny

                                             ~~~
     his trip included a research component or whether it needed to be supported by the School of
     Medicine.         ,(L~'Q,,
                  ~ '\,- ~
     WITNESS STATEMENTS



   ~oAll witnesses were referenced by Complainant. The witnesses who were interviewed as part of
     this investigation were advised to keep information related to the investigation confidential to the
     extent possible in order for this investigator to conduct a thorough investigation. The witnesses

 ~o  were also advised that they were subject to the policies prohibiting retaliation for either
     participating in an investigation or bringing a claim. Witnesses 2, 5, and 7 did not reply. Witness
     10 and Witness 15 declined to be interviewed. Witnesses 17, 18, 19, and 20 are no longer

~G   affiliated with the University and had no contact information available.

     Witness 10 and Witness 15 declined to be interviewed for this investigation. I did not interview
     Witness 28 and Witness 29 because their anticipated testimony would not have been relevant to

     23
       The New Associate Dean added that Complainant "told the Director of Student Affairs her [sic] that she was
     bringing two family member representatives to her March 9, 2020 hearing, one of whom had legal expertise."


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   Complainant's allegations.

   Witness 1

   Witness 1 stated that before she retired in June 2019, she was the Associate Dean
                                                                                 ean of Admissions*"t),
   at the School of Medicine. Currently, Witness 1 is working at the Pathology Department.
                                                                                            ~c
   Witness 1 stated that in 2014, Complainant joined UCJ's School of Medicine ~ -Baccalaureate
                                                                                       -Baccalaureate
                                                                                         ~
   Program to prepare her to gain acceptance to UCI Medical School. Witness 1 said that she
   oversaw the Post-Baccalaureate Program until June 2019. Witness 1 recalled that Complainant
   worked very hard during her first year of the program and passed her classes. However,

                                                                      6
   Complainant did not do well on the Medical College Admission Test (MCAT). The Post-
   Baccalaureate Program Committee met and decided to give Complainant a chance and offered
   her conditional
               nal acceptance for a second year. During her second year, Complainant took more
   MCAT prep classes and enrolled in courses with first-year        ,o
                                                           year medical students. Life her first year,
   Complainant did not get a competitive MCAT score the second time she took the exam. As a
   result, in May or June 2016, Witness 1 and other committee members were concerned about
   admitting Complainant to the medical school             n~ ~'v'                 admission.
                                               ol and rejected her medical school admission
                                                        -~-ro
   However, in a follow-up committee meeting and based on one administrator's advocacy
                                                                                   advocacy,


                                         ~~~rv'~
   Complainant was admitted to the medical school.

   Witness 1 stated that sometime in 2018, Complainant spoke to her about not passing her Step 1
   exam. Witness 1 encouraged Complainant to work hard in hopes that she would pass the exam.


                                        "' ~
   Complainant told Witness 1 that she needed more time on her Step 1 exam; however, Witness 1
   said that she was unsure if Complainant
                                  mplainant petitioned NBME to extend the time of the exam for
   Complainant. During her meeting with Complainant, Complainant told Witness 1 that she did
   not feel that Respondent "ad~         enou~ ~ ~ behalf with NBME. Witness I stated that
   she knew that NBME is very strict regarding any extended time accommodation request. Witness
   1 added that this is she was personally concerned about admitting Complainant to medical school
                          e;~ ~e;~
   specifically because Complainant struggled with standardized
                                                     standar     exams.

   Witness 1 s ~~m~                  a "wonderful human being" and is "very persistent
                     reason standardized
   However, for some reason, standar
                                                                                         ,,
                                         tests seem to be a challenge for Complainant. It is "not
   due to a e ¥ort."


   0~
   Witness 1 stated that Complainant never shared that she
   against based on any protected category.
                                                       sh was treated differently or discriminated




~
 c>Witness 3

   Witness 3 is a Senior Disability Specialist at the Disability Services Center. Witness 3 said that
   she first met with Complainant on November 9, 2017, because Complainant wanted DSC's help
   to submit paperwork to NBME requesting accommodation for her Step 1 exam. Complainant
   wanted to extend the time on her Step 1 exam to a time and a half.



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  Witness 3 stated that during her meeting with Complainant, she learned that in February 2017,
  Complainant discussed her disability with the former Director of DSC, and DSC approved
  Complainant for the following accommodations: (1) one  ne and a half extended time for exams, (2)
  separate location for exams, and (3) text to speech software. However, it did not appear that
  Complainant utilized any assistive technology as part of her accommodation.                      *"t),
  At the same meeting, Witness 3 told Complainant the documentation that DSC had in          ~c
  Complainant's file did not meet the accommodations reguirements for the NBME         ~
                                                                               _ because~
                                                                           6
  NBME has their own standards for accommodation requests. Witness 3 stated that Complainant
  was familiar with NBME's accommodation process and requirements because~             re listed
  onNBME'swebsite. Witness 3 then walked Complainant through the process and the type of
  forms Complainant needed to submit to NBME in order to request an accommodation. Witness 3
  helped Complainant fill out the necessary documents and told Complainant that it could take up
  to sixty days before NBME provided a response for Complainant's o ommodation request.
  Complainant told Witness 3 that she already paid the fees and wanted to move forward with her
                                                                  ~~
  Step 1 exam. Witness 3 did not recall when Complainant tookk her Step 1 exam in Fall 2017.

  Witness 3 stated that on January 2, 2018, NBME sent• a ~             tier £i\;~plainant' s
                                                                            V
  accommodation request saying in part that Compl~- ~'Visabili'1\td not demonstrate
  " substantial limitation on a major life activity." Witness            ~XJ
                                                          '"~3 stated that            2018 she received
                                                                             in April 2018,
  an email from Complainant asking her if she € 0 ~         m B ~ ~uire about NBME' s denial
  of Complainant's accommodation reques~;.J~~tep                    ~ Within a few days from receiving
  Complainant's email, Witness 3 conta~ ~~            E. Up s         ·ng to N BME, Witness 3 did not
  recall sharing Complainant's name wi~           ME, b~       • uired about the type of

                                ~CJ :0
  documentation needed to demonstrate a barrier to a major life activity. Witness 3 did not discuss
  with NBME Complainant' s disability or language-related
                                              language--related issues.
                                              language

                                         ~~ with NBME'sdecision regarding their denial
                              C was not satisfied
  Witness 3 said that Complainant
  of Complainant's acco~                          Witness 3 helped Complainant file an
                                   ion1 # -s a result,
                                                               letter of support to Complainant
  appeal with NBME on May 6, 2018. Witness 3 said she wrote a le


              ~~~
  as part of the appeal request to NBME and helped Complainant get other medical assessments
  that met the requirements set by NBME. Witness 3 said that DSC does not offer in-depth
                                              required by NBME, but not by DSC. Witness 3 said
  assessments like psychological evaluations, req


   ~o
  that she did not know the NBME decision's outcome because NBME's decision is directly
  communicated to Complainant. Witness 3 later learned that Witness 16, Director of DSC,
  worked with Complainant and offered her
                                        h additional support.

 ~o
~G
  Witness 3 stated that sometime right before Respondent retired around June 2019, Respondent
  called Witness 3 because she was trying to find out how DSC might be of help to Complainant.
  Witness 3 told Respondent that DSC's primary focus is providing support and disability-related
  accommodations to students who are registered with DSC. During the phone call, Respondent
  asked Witness 3 if the fact that Complainant speaks multiple languages could be used as an
  argument to request accommodations for Complainant from NBME. Witness 3 told Respondent
  that speaking multiple languages does not qualify for an accommodation. Witness 3 said that
  Respondent was just trying to find a way to help Complainant get accommodation for her exam.


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  Witness 3 added that Respondent's comment was not meant to imply that Complainant had
  comprehension issues or that Complainant was targeted due to her race or national origin.
  Moreover, it was Complainant who first brought up the conversation about language with
  Respondent. Additionally, Witness 3 denied that Respondent intervened or influenced Witness
  3's work with Complainant in any way. Witness 3 stated that she was the one who mentione~ " b ,
  Complainant that she spoke to Respondent about her situation.


                                                                                       ~
  Witness 3 stated that on August 10, 2020, Complainant sent both her and Witness 16 an email
  saying that NBME granted her extended time accommodation for her Step 1 exam.

  Witness 4

  Witness 4 is a Professor of Medicine at the Infectious Diseases Department and the
                                                                                 th Chair of
  P&H. Witness 4 stated that Complainant had difficulty passing her Step 1 exam as well as
  passing at least one class, Surgical Clerkship.                  ,o
  Witness 4 said that the entire allotted time for students to finish medical school is six years.
  Medical students                                           n~           '-
             udents take the Step 1 exam at the end of their second year of medical school. Witness
                                                       -~-ro ~'v
  4 stated that when a student does not pass the Step 1 exam, P&H has the authority to give the


                                           ~~-s~~
  students a warning, place them on probation, or dismiss the student. In this
                                                                            thi case, P&H decided to
  place Complainant on probation in March 2020.2020.

  Witness 4 said that P&H was very cooperative and allowed Complainant to retake her Step 1

  hearing and discussed Complainant'~                ~
  exam; however, Complainant kept delaying the exam date.date. Around March 2020,
                                                                              2020 P&H held a
                                              on. ~ the hearing, Complainant and her counsel
  were present, as was Respondent. During the hearing, Complainant claimed that Respondent told

                               c❖ ~~
  her to go back to her country; however, Respondent denied telling Complainant to go back to her
  country. Additionally, Com  plainant claimed that Respondent said that she had a language-related
                         Complainant
  disability. Respondent denied this claim and insisted that she was only trying to help
                         e;~ ~e;~
  Complainant and make a case for her accommodation.

  Complainan" 1 " ~tn~                d with Respondent regarding Respondent's comment to

  hear~   e~
  Complainant that she should go back to her country. Complainant stated that during the same
                    a "back and forth communication" between Respondent and fonne r DSC
  Director about Complainant having language proficiency issues.

  " Ss 4 denied saying that he agreed with Respondent's comment that Complainant should go
  back to her country. Witness 4 said that he provided Complainant with a notice of her hearing



~
 &and ensured no conflict. Witness 4 offered Complainant an opportunity to provide witness names
  and asked her to give input on the date and time of the hearing.

  Witness 4 said that P&H was aware Complainant was placed on academic leave since 2018 since
  she did not pass her Step 1 exam, and as a result, her financial aid and housing were impacted
  because she was not enrolled as a student.



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     Witness 4 said that ultimately Complainant signed up to take her Step 1 exam on two days
     during the month of October 2020. Witness 4 said that usually, the Step 1 exam is done in one
     day; however, NBME accommodated Complainant and allowed Complainant to complete the
     exam in two days.

     Witness 4 said that he did not believe that Complainant was subjected to discriminationn based on
                                                                                                      ~~
     any protected categories.

     Witness 6
                                                                                             §
     Witness 6 is Department Chair and Professor of Clinical Emergency Medicine, School of
     Medicine.

     Witness 6 stated he is also the Director of the Ultrasound Fellowship, which provides interested
                                                                        ,o
     medical students with opportunities to go to a country of their choice to teach local doctors how
     to use ultrasound equipment. Witness 6 stated that the overwhelming majority of medical
     students travel to Panama, Tanzania, and Switzerland beca"!//Jthe Jlr~           's we! l-established


                                                          ~~ ':v~~
     contacts in these three countries. Witness 6 stated that medical students raise their own funds to
     support their ultrasound projects. Witness 6 indicated that he loans the ultrasound machines that
     medical students take with them on their trips through a third
                                                               third-party
                                                                     party that is not affiliated with



                                                <~ rv"
     UCI.

                                              2017, Complainant approached him and said she wanted
     Witness 6 stated that sometime in early 2017,
     to travel to Kenya for the ultrasound program because she had contacts there. Witness 6 was
     happy to leam about Complainant's ~          d t~ ~      the would be willing to support her.
     Witness 6 said that Witness I~ ~':t'f,ri~ ~estigator (P .1.) for Complainant's IRB
     proposal, which required Complainant to do a couple of surveys.

     Witness 6 stated that around the time Complainant told him about her travel plans, the School of
                             e;~ ~e;'?>
     Medicine started looking at any possible risks associated with countries that UCI medical

              D~~
     students planned to visit. In order to assess safety issues,
     U.S. State                Tr~
                                                          issues the School of Medicine relied on the
                                            sory. At that time, Witness 6 learned that while the area that
     Complainant wanted to travel to in Kenya was not included in the travel warning, but the country

         ,,<'>O
               ,v   included. As a result, Respondent was not able to approve Complainant's IRB
     as a whole was included
              ~ or endorse Complainant's plans due to "safety reasons." Complainant became
     application
     '~ ¥d tried to collect letters of support from Kenya and the Kenyan Consulate; however,
     '-.J
     the School of Medicine was not able to ignore the State Department's travel warning.


c>
~
     Complainant was scheduled to travel to Kenya in June 2017 for approximately one month;
     however, she did not submit her IRB information until April 5 and April 12, 2017. Witness 6
     said that IRB proposals usually take six months for approval. UCI's IRB Office sent a request to
     Complainant for edits related to her IRB proposal in May 2017. However, Complainant decided
     to travel to Kenya as planned in June 2017, prior to receiving IRB approval. Complainant was
     told that she was free to travel to Kenya, but the medical school would not be able to endorse her
     travel.


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 Witness 6 said that several medical students traveled to Panama, Tanzania, and Indonesia around
 the time Complainant traveled to Kenya; however, none of these countries had a travel warning
 by the U.S. State Department. Witness 6 said some medical students wanted to travel to Mexico,
 but due to the State Department's travel warning, UCI's School of Medicine did not endorse
 their travel plans, either.

 Witness 6 added that the School of Medicine only checks the travel warning list for medical
 students who request to do research in the countries they plan to visit. Medical students who do
 not ask to do research are not required to submit an IRB proposal.
                                                                 sal. Witness 6 said that no UCI
 medical student went to Kenya between 2017 and 2020 to conduct supported research that
 required an IRB proposal, and if anyone did, they did so on their own accord.

 Finally, Witness 6 stated that another medical student, Witness
                                                           itness 20, wanted to travel to Nigeria in
 2017 for her project; however, Witness 20 failed to submit an IRB proposal. Witness 20 then
 decided that she did not want to do a research project, and instead
                                                             instead, she just wanted to teach.
 Witness 6 said that Witness 20 chose not to travel to Nigeria and dropped out of medical school
 in 2017 for "unknown reasons."

 Witness 8

 Witness 8 is a Registrar at the School of Medicine and responsible for keeping medical student
 records related to grades, financial aid, and diplomas.
                                               diplomas.

 Witness 8 stated that in February 2018,
                                    2018 Complainant contacted her.
                                                                  her Complainant requested that
 the Registrar Office
                ffice provide a letter to Complainant,
                                          Complainant, saying that she was still a medical student
 so that Complainant could continue to live at Verano.
                                                 Verano Complainant stated that nobody was
 helping her, and as a result,,                       Witness 8 said that in 2018, Complainant
 was on academic leave and was no nott enrolled as a medical student.

 Witness 8 indicated that the Registrar
                              Registrar's  Office attempted to help Complainant by filing a
                                        's O
 document with campus ho housing,
                            using,, asking them to xtend Complainant's ability to continue living
                            using
 at her campus housing apartment.

 Witness 8 said that Complainant also took the Step 1 exam on May 7, 2018; however, she failed
 that exam. Witness 8 said that in July 2018,
                                        2018 Complainant requested and submitted an academic
 leave of absence,
          absence returning in November 2018. Although Complainant was not enrolled as a
 medical student, campus housing allowed Complainant to stay at her campus apartment
                                                                              apar      from
 July 2018 until November 2018. During her academic leave, Complainant took her Step 1 exam
 on October 30, 2018, and said that she was "confident" that she passed her exam. As a result,
 Complainant was approved to re-enroll for Fall 2018 on the condition that she passed her exam.
 However, Complainant failed her exam. Complainant needed to pass the Step 1 exam to re-enroll
 as a medical student and be allowed to continue to live on-campus housing as an enrolled
 student.



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     Witness 8 said that since Complainant was not enrolled as a medical student, Complainant had
     financial problems and owed around $28,000 for tuition and fees. Witness 8 stated that Witness
     19, former Financial Aid Director, helped Complainant with some of her financial aid problems,
     but Witness 8 was not aware of all of the details. Complainant said that she also needed money
     for her housing costs for Fall 2018. However, Witness 8 reminded Complainant that they could    *"t),
     only re-enroll Complainant as a medical student on the condition thatt she passes her Stepp 1  C
     exam, but Complainant did not qualify for financial aid when she did not pass the exam.
                                                                                            §
                                                                                        exam. Witness
     8 said that in December 2018, she told Complainant to log into her account to check her financial
     documents and fees.

                       at on December 3, 2018, Complainant submitted her second academic leave of
     Witness 8 said that
     absence request and indicated that she would return upon her passing the Step 1 exam
                                                                                     exam, but did
     not specify a return date.

                                                               Verano  ,c
                                                                   no Housing regarding
     Witness 8 indicated that on March 21, 2019, she contacted Verano
     Complainant and was told that per housing policy, they would not be able to continue to extend
     Complainant's stay at Verano housing if Complainant was ~       olled ~     rking on correcting


                                                         ~~ ':v~'v
     her academic status.

     Witness 8 said that multiple people were trying to help Complainant, including Respondent. For



     Witness 8 stated
                                               ~~  rv"
     example, Respondent helped Complainant by allowing her to start her pediatric clerkship in Fall
     2018, even though the course date falls under the Winter


                                                s:~
                                                       Winter term of 2019.

                 tated that on November 1, 2019, she contacted NBME at the request of the New
     Associate Dean to find out if they s~     nial           third party regarding Complainant's
     accommodation request. NBME told Witness 8 that they did not provide any letter to a third
     party involving Complainant.
                                  c❖ ~~
                      ~~ ~e;'bi
     Witness 9

     Witness 9 is the Acting Associate Director for Apartment Life and is in charge of the move-in
                 ~ '\,- ~
     for graduate students at Verano Housing.



  ~o Witness 9 said that for a graduate student (such as Complainant) to live at Verano, they need to
     be enrolled as full-time
                    full      students, have all but dissertation status, or be on a temporary leave of
     academic absence. Witness 9 said that academic leaves of absences are usually offered on a

 ~o  quarterly basis.

     Witness 9 stated
               stat that Housing's Exceptions Committee was tasked to look into Complainant's

~G   housing problems as a non-enrolled student on an academic leave of absence. Witness 9 said that
     the Exceptions Committee approved Complainant for an academic leave of absence from
     December 3, 2018, through May 3, 2019.

     Witness 9 said that on several occasions around April 2019, Complainant came to Witness 9
     "distressed" due to her housing situation and expressed that she was not supported by her


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   department. Witness 9 said that Complainant was not enrolled as a medical student at that time;
   however, Witness 9 did not know the reasons behind Complainant's non-enrollment.
   Complainant told Witness 9 that she spoke to Respondent about her situation and that
   Respondent agreed to send Witness
                                 tness 9 a letter of support so that Complainant could continue to
   stay at her Verano apartment.                                                                   *"t),
                                                                                             ~c
   On April 25, 2019, Respondent sent an email to Witness 9, asking if Complainant could continue
   to stay at Verano. When Witness 9 spoke to Respondent about Complainant's ~ ~tness
   9 learned that Complainant was still not enrolled as a medical student because she did not pass
   one of her exams. On May 2, 2019, the Registrar 's Office
                                                         ffice confirmed that Complainant was not
   enrolled as a medical student.

                                                                       6
   Witness 9 stated that she also spoke with Witness 3 from DSC.. Witness 3 confirmed that
   Complainant was not enrolled as a UCI student, and as a result, Witness 3 could not work with
                                                                     ,o
   Complainant. Witness 3 added that Complainant did not submit any documents that necessitated
   a housing accommodation.

   Witness 9 acknowledged that when she spoke to Respo# ,ut ~ ' ) , ,ant's situation



                                             <~o~~~
   around April 2019, Witness 9 told Complainant that Respondent was not helpful because
   Respondent did not provide a letter to Witness
                                              ess 9 in support of Complainant to stay at Verano.
                                                                                         Ver

   Witness 11

   Witness 11 is a Professor
                                                       ~
                     rofessor and Associate Dean at the School of Medicine. Witness 11 said that he
                                         C\,
   first met Complainant during her first medical school year when she was enrolled in a service-


                                c❖ ~~o
   learning class with him in Fall
                                all 2016. Witness 11 said that the service-learning class requirements
   include a planning document for the project, a midterm paper, and a final paper.


                           ~~
   Witness 11 indicated that Complainant told him she wanted to do her service-learning project in
                                         ~'?>
   Kenya. However, Witness 11 told Complainant that Kenya had    ha safety issues and that safety was
   ''paramount." Wi~           said ~        ever told Complainant not to travel to Kenya; however,
           ,~ ~ =                ~
              omplainant that since
   he said Complainant               Kenya was on the State Department's travel warning list, her
   travel wb        y "approve~ Y the School of Medicine. Witness 11 told Complainant that
                                                                 projects, and he had to assess risk
   some medical students wanted to travel to Mexico for their projects
                          issues. Eventually, Witness 11 told students that he could not support their
   factorss due to safety issues
   factor

   0~
   travel plans because Mexico was not safe.




~
 c>Witness 11 also recalled Complainant told him that there was some violence in or around the
   areas to where she planned to travel in Kenya. Witness 11 said that he managed more than a
   hundred projects at any given time, and he did not remember the resolution of the Complainant's
   project.

   Witness 11 stated that the projects associated with his service-learning class do not have an IRB
   requirement and that the students only get course credit at the end of their projects. Witness 11
   said that out of more than a hundred projects he supervises each year, he receives perhaps two


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   projects that might require an IRB proposal. Witness 11 said that Complainant did not need IRB
   approval for her service-learning project. However, Complainant told Witness 11 that she wanted
   to do additional projects while in Kenya that required IRB approval. Witness 11 told
   Complainant getting IRB approval in such a short period would be very tough and that she
                                                                        "           ,,             *"t),
   might face challenges on the way.
                                                                                                   C
                                                                                         ~
                                                                              Respondent , and he
   Witness 11 said that Complainant did not raise any issues or concerns with Respondent,
   was not aware of any problems between them.

   Witness 12

   Witness 12 joined UCI in 2016 and is currently a fourth-year
                                                            year medical student. IIn
                                                                                    n Fall 2016,
   Witness 12 signed up for the same service-learning
                                              learning class. Witness 12 said that the service-
   learning class project was not research-based
                                                                     ,c
                                           based and did not require an IRB proposal.

   Witness 12 said that many medical students signed up to go on an ultrasound trip during the first
   medical school year. Witness 12 said that Witness 6 was the mentor for the ultrasound trip.
   Witness 12 stated that the ultrasound trip was separalf§ , ~e~ ~           service
                                                                           ' service-learning
   project for Witness 12,, but he decided to join Complainant and four other students on their trip to


                                             ~~-s~~
   Kenya. Witness 12 said that the trip was planned for June 2017,
                                                             2017 , and he started meeting with
   other group members to plan the trip in Spring
                                              pring 2017.

   Witness 12 said that the group decided to do a group project for the Kenya trip that required IRB
   approval. One
                                        c'- ~                                 safety, and another part
               ne component of the project needed a survey to assess water safety
   involved a research study on the efficacy of ultrasounds
                                                ultrasound s for dehydrated patients. Witness 12 said



                           ~~Q
                              ~
   Witness 12 said that he heard about
                                                 ~°'
   that the group ultimately submitted their IRB proposal for the Kenya trip in April 2017. Witness
                                                              2017, until July 3, 2017.
   12 added that the Kenya trip was scheduled from June 6, 2017

                                       ~ t~ ~late Deparbnent' s travel advisory warning to
               pring 2017. At that point, the group had already submitted their IRB proposal,
   Kenya in Spring


                ~~~
   purchased their airline tickets, and reserved their lodging. Witness 12 said one of the group
   members confirmed there
                         there was a travel warning to the entire country of Kenya, especially near
   the Somali border. Witness 12 did not recall the name of the group members who confirmed that

           0
   there was a travel warning to Kenya. Nonetheless, the group as a whole decided to travel despite
   the travel warning. Witness 12 said while the group was in Kenya, they visited two places, and
   o~            o sites was Complainant's village in Kenya.




~
 c>Witness 12 said that the IRB proposal was not approved before June 6, 2017, because they
   learned
   learn that the IRB review process takes some time. The group, including Complainant, still
   went on the Kenya trip as scheduled. While in Kenya, the group received feedback on their IRB
   proposal, and the proposal required some edits and revisions. Witness 12 said that Witness 18
   was the liaison with whom they worked on the IRB proposal and that Witness 18 told the group
   that they needed to do a number of edits to their IRB proposal. However, due to some internet
   challenges in Kenya, the group was not able to work as fast as they wanted on the edits. Witness
   12 said that while they were in Kenya, they did receive IRB approval to conduct their survey


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 assessment; however, they did not get IRB approval for the second part of their project involving
 ultrasounds for dehydrated patients.

 Witness 12 said upon returning to UCI from their Kenya trip; Witness 18 told the group that it
 was not worth it to pursue the other component of their IRB proposal because they had already
 returned to the U.S., and no data was collected for that project. Witness 12 said that the group
 submitted data regarding the survey assessment component of their IRB proposal and used the
 data to develop a poster, which was displayed at the medical student retreat. Witness 12 said that
 they could have used the survey data to publish a research paper, but the group decided not to
 pursue publishing at that time. Witness 12 said that had the group submitted their IRB proposal
 earlier, and they probably would have had enough time to complete IRB approval before they
 went on their trip.

                                                                       were trying to promote a trip
 Witness 12 said that in October 2017, several members of his group were
 to Kenya again for Summer 2018.018. However, Complainant shared an email with Witness 12 from
                                      ould not be able to travel to Kenya anytime soon because
 Respondent saying that the group would
 Kenya was still listed on the State Department'ss travel advisory warning list.

                                                                                    Complainant
 Witness 12 said that after the Kenya trip, he remained in contact and friends with Complainant;
                         nal issues,

                                              2019, he heard that there was a trip to Kenya.
 Witness 12 stated that in late 2018 or early 2019,                                   Kenya
 However, Witness 12 did not know any details about the trip and whether it was one person whow
 went on the trip or a group of medical students. Additionally, Witness 12 did not know if there
 was a travel warning to Kenya at that time.

 Witness 12 said that Complainant never told him that she was subjected to discrimination from
 anyone at UCI.

 Witness 13

 Witness 13 joined UCI in 2016 and is currently a fourth-year
                                                    fourth     medical student. Witness 13 said
 that in Fall
          all 2016,
              2016 he took the service-learning
                               service          class with Witness 11 and that his project for the
 class did not require an IRB proposal.

 In Winter Quarter
            Q       2017, Complainant, Witness 13, and several other students started to prepare
 for their Kenya trip,
                 trip which was scheduled for June 2017. Witness 13 said that Complainant was
 the lead person for the Kenya trip. Witness 13 told the group to do a group project for the trip,
 and they submitted their
                      the IRB proposal around March 2017. Witness 13 said that the group did
 two IRB proposals, one for a survey study on the water quality and another one on using
 ultrasound to assess dehydration.

 Witness 13 said that around late April 2017, the group learned from Complainant that there was
 a U.S. State Department travel warning to Kenya, especially near the Somali border. However,



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     the group decided to proceed with their Kenya trip because, by that point, they had already
     submitted the IRB proposals and purchased their airline tickets.

     Witness 13 said that the group did its own crowd fundraising24 for their Kenya trip. Witness 13
     said that they raised $17,749 for their Kenya trip.                                                             *"t),
                                                                                                                     C
                                                                                                        ~
     Witness 13 said that before they traveled
                                          veled to Kenya in early June 2017, they might have received
     feedback on their IRB proposal from Witness 18. Witness 13 said that it was expected that they
     finalize their IRB proposal before they went on their trip; however, the group decided to travel
     before having the IRB proposal completed.. Witness 13 said that Witness 6 loaned them two
     ultrasound machines for their Kenya trip and that they brought the devices back to Witness 6
     upon their return from the trip. Witness 13 said that when the group arrived in
                                                                                  i n Kenya, they made
     some edits to the IRB proposal and resubmitted it for additional review. Witness 13 said that due

                                                                         ,c
     to internet connection problems, it took them a week to submit the first round of edits. The group
     then did another round of edits and resubmitted the IRB proposal for additional review. Then,
                                                                                               Then
     while they were still in Kenya, the IRB proposal for the survey portion of their research was
     approved.

                                                                  -~'YJ ~'v
                                                                     (4,~   '
                                                                                         group. Witness
     Witness 13 said that upon returning from the Kenya trip, Witness 18 emailed the group
     18 said that since they were already back in the U.S. and the IRB for their other research project
     was not approved while they were in Kenya, ih~
     the !RB." Witness 13 said  that the group ~'\,'t-'
                                               used the data that r'v\
                                                              'n~ im
                                                                  th ey
                                                                  they  have
                                                                             ontinue with that portion of
                                                                             collected as part of the
     survey that they conducted in Kenya to develop a poster and presented it at a medical student
     conference.
                                                c'-              ~
                                       c❖ ~~°'
                                         2017, the group started to promote the project that they
     Witness 13 said that around October 2017
     were not able to finish for Summer 2018. However, Complainant told the group that she received
     an email from Respondent saying they could pursue their project independently, but the School

                         ~~ ~~~
     of Medicine would not support them because Kenya was still on the travel warning advisory list.

     Witness 13 said that after Fall
                                 all 2017,
                                     2017 he did not interact much with Complainant because he tried
                  ~      '\,-        ~
     classes in which he was enrolled. However,
                                        H
                                                      2018, Complainant signed up for some of the
     to focus on his studies. Witness 13 said that in 2018
                                                   Complainant did not show up for the classes.
     Witness 13 said that he saw Complainant in November 2019 2019, and Complainant told him that she
     too~ ae off to work on "stuff related to our Kenya trip."


 ~o  Witness 13 said that in 2019, a group of UCI medical students might have traveled to Kenya.
     However, it was not an ultrasound trip, and UCI did not support the trip. Witness 13 said that he
     did not know if Kenya was still on the travel advisory list in 2019.

~G   Witness 14

     Witness 14 is an Assistant Clinical Professor in the Emergency Department and the Director of

     24
       Crowdfunding is the practice of funding a project or venture by raising small amounts of money from a large
     number of people, typically via the Internet.

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   Emergency Ultrasound.

   Witness 14 did not recall details related to Complainant's IRB proposal. However, Witness 14             "Z>,
   stated that whenever a medical student inquires about the IRB process, they are told that the IRB

                                                                                                    ~
   process is quite lengthy and requires multiple rounds of edits. The students are also informed that
   if the School of Medicine does not support their travel plans, the School of Medicine cannot help
   the students with their IRB requests.
                                                                                           §
   Witness 14 said that Witness 18, a former undergraduate student, was a volunteer at the IRB
   office, and she graduated in 2018. Witness 14 said that if Complainant communicated with
   Witness 18, she most likely told Complainant about the importance of meeting specific deadlines
   during the IRB process. Witness 14 said that Witness 17 was the Research Coordinator for the
   Emergency Department and reported to Witness 6; however, Witness 17 left UCI several years
   ago.
                                                                      ,a
   Witness 14 said that every year, several IRB proposals are rejected for a variety of reasons. One
   of the critical reasons a proposal may be rejected is if a student plans to travel to a country on the
   State Department's travel advisory warning list. Wi~ ~              ili~ vCaBeS, he tells
   students that they are free to travel, but he would not be able to support their travel plans or IRB


                                              ~~~rv'~
   proposals.

   Witness 14 said that some students went to Indonesia for a couple of years in a row, but no more
   students were approved to travel due to safety issues.

   Witness 16                            c'- ~
   disability with DSC in Winter c❖ ~~°'
   Witness 16 is the Director of DSC. Witness 16 said that Complainant first registered her
                             inter 2017. Complainant worked with the former DSC Director before

                     ~~ ~~~
   her retirement in early 2017.

   When Complainant had her initial meeting
                                       meetin with the former DSC Director on February 16, 2017,
                ~              ~
   Complainant said that she had reading challenges in school, both in the U.S. and previously in
                       '\,-
   her country of origin, Kenya. The former DSC Director reviewed different technology options
   with Complainant,
        Complainant and Complainant authorized the former DSC Director to speak to

   6~
   Co~~ ;O s doctor. Witness 16 said in March 2017 ; the former DSC Director sent a letter to
                 :U,d Respondent saying that Complainant's disability accommodation include d time
   and a half for exams aand a private room for Complainant during her exams.




~
 c>                                     2017, Complainant worked with Witness 3, a DSC staff
   Witness 16 stated that in November 2017
   member, regarding matters related to Complainant's accommodation. Specifically, Witness 3
   worked with Complainant on preparing a disability accommodation application for
   Complainant's Step 1 exam. Witness 16 said that NBME is the entity responsible for reviewing
   accommodation requests for the Step 1 exam. DSC only "assists" students in filling out the forms
   required by NBME for the student's accommodation request. Witness 16 said that all students
   are informed the process is not easy and is very time-consuming.


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     Witness 16 said that after Complainant failed her first Step 1 exam in the summer of 2018,
     Complainant appealed NBME 's decision not to accommodate her. Witness 3 helped
     Complainant fill out paperwork requesting accommodation for her second Step 1 exam;
     however, NBME denied Complainant's accommodation request appeal. Complainant took her          *"t),
     second Step 1 exam in October 2018.                                                           C
                                                                                           ~
     Witness 16 said that in May 2019, Complainant came to speak to her regarding her housing
     challenges because she was no longer enrolled as a UCI medical student. Witness 16 said that if
     students are not enrolled in classes, students are not eligible to continue living in student
     housing. As a result, Complainant wanted Witness 16 to help her continue living at her campus
     apartment. Witness 16 told Complainant that DSC would support Complainant to continue living
     on-campus housing  g until June 30, 2019. Witness 16 said that she worked with Ver Verano to ensure

                                                                      ,c
     that they would allow Complainant to stay at her campus apartment until that date so that
     Complainant could find a new place.. Witness 16 said that Complainant was still not satisfied and
     wanted to live on campus indefinitely; however, housing was not able to do that because


                                                        -~~
     Complainant did not pass her Step 1 exam and was not an enrolled student since early May 2019. 2019


     the Ombudsman's office. During the meeting,
                                                            ev'
                                                        ~ rv~
     Witness 16 said she met Complainant on November 7, 2019,  2019 along with a representative from
                                                 ting,• Complainant expressed her frustration with the
     Medical School, NBME, housing, and Witness 3. Witness 16 told Complainant that she would be
     willing to fill out the necessary paperwor~             NI~     \ ision regarding Complainant's
     accommodation request uest for time and a half on her exam and a private exam room. Complainant

                                          C'             ~
     then said that NBME might have denied her accommodation request because the Respondent
     told them that Complainant had language issues. Witness 16 told Complainant that NBME does


                                  c❖ ~~°'
     not consider language proficiency in their accommodation assessments.
                                                                  assessments However, Witness 16
     said that when she commented to Complainant, she did not know that Complainant stated on her
     initial intake with DSC in early 2017 that she had language issues.

     Additionally,          ~~ ~~~
            nally, Witness 16 said that when Complainant first submitted her initial intake request for

     Witness 16
     2020. W~
                ~~po~
     accommodation with DSC in early 2017, Complainant stated that she had issues with language.
                                      •~ out at Complainant's P&H hearing t hat took place in March
                       aid that ~~r used any issues related to Complainant's language skills
     to deny her accommodation and that DSC has been very supportive of Complainant.

     Witness 16 said after the November 2019 meeting with Complainant, Complainant submitted
     @ ~comrnodation appeal request with DSC's help to NBME. This time NBME only
                                      pr
     agreed to provide Complainant a private  exam room, but they declined to extend the time on
&       mplainant' s exam. Witness I 6 then helped Complainant appeal the appeal response with
     NBME. This time the appeal request was granted, and the extended time was approved by
~    NBME in the summer of 2020.

     Finally, Witness 16 said that NBME is "notorious" for denying accommodations for Step 1
     exams. Witness 16 added that Complainant was fully aware ofNBME's accommodation
     requirements for the Step 1 exam because Complainant had access to this information on


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      NBME's website. Also, NBME decisions regarding all accommodation requests are directly
      communicated with the students, not DSC or any other entity. Additionally, NBME has a
      national board committee that reviews all accommodation requests before a decision is made and
      communicated with students.
                                                                                                       *"t),
      Witness 22

      Witness 22 is the Director of Administration and Finance
                                                                                                 ~c
                                                           ance for Medical Education Department at
      UCI's School of Medicine. Witness 22 is also a member of the Scholarship C~         v that
      disperses award funding for recipients through the Financial Aid Office
                                                                        ffice and in coordination with
      the Office of Dean of Student Affairs.



                                                                         ,o
                                                                           6
      Witness 22 said that around May 2019, medical students, Witness 2 and Witness 21, were
      awarded $1000 each for their trip to Kenya from the School of Medicine based on the
      Scholarship Committee's recommendation.. Witness 22 was not sure when Witne
                                                                               Witness 2 and Witness
      21 traveled to Kenya but thought they might have traveled sometime later that summer.


      research and travel through UC! ZotFunder's web~      . ~ ~'"y
                                                           ; however,
                                                              ~                 '
      Additionally, Witness 22 stated that medical students are free to raise their own funds for their
                                                                        it is not endorsed by the School



                                                 ~~rv~
      of Medicine.

      Witness 23


                                                           ~
      Witness 23 is the Chief Global Affairs Officer and Associate Vice Chancellor Global
                                            C\,
      Engagement,, Office of Global Engagement. Witness 23 stated that before January 2020, there
      was no centralized and mand~            prov~ e ; ~for UCI's student international travel.
                                                         decentralized and each school was responsible
      Instead, the process for international travel was decentralized,
      for administering international travel for their students and researchers. Each school also had its

                       ,eSJ~ ~~~
      own international travel standards. For example, travel approval for a humanities researcher
      working at a library is different in terms of risk assessment requirements from a traveler
      conducting clinical research and coming in contact withw multiple human subjects.
                 ~ '\,- ~ 2020 all students and researchers planning to travel
      Witness 23 said that at least since January 2020,


         ~o
      internationally as part of their university studies or research must go through an approval process
      and demonstrate that they are aware of all risks associated with their travel. Also, to ensure their
      safety, travelers must demonstrate how they would mitigate any risks or challenges they might
      face in the country they plan to visit. Afterward, the Office of Global Engagement determines
 ~     Q er the stndent or researcher's mitigation plan is reasonable or not. If they do not approve
                      plan, the case would be transferred to the International Risk Review Committee
      the mitigation plan

~G    for review.

      Witness 23 indicated that it is possible that two students requesting to travel to the same place, at
      the same time, and for the same purpose, would get different answers regarding their travel. The
      travel request for a student who presents a convincing argument and demonstrates how they



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     would mitigate risks and ensure their safety, would be supported. In contrast, the travel request
     for a student who fails to show any preparedness level would not be supported.

                                                                                                     *(bi
     Witness 23 stated that the U.S. State Department's travel warnings are only one criterion used to
     assess international travel risk. Students must also demonstrate self-awareness
                                                                           awareness of the risk and
     have a detailed safety plan.                                                                   C
     Witness 24

     Witness 24 is a Professor at UCI's Public Health Administration Department.     ~
                                                                                      ~
                                                                                tment. Witness 24 stated
     that he is the Principal Investigator for a research project that he has been running for several
     years in Kisumu, Western Kenya, approximately a thousand miles fro6                's border with
     Somalia.

     Witness 24 said that UCI medical students                  ,c
                                           udents Witness 2 and Witness 21 have been working in his


                                                                               '               2019,
     lab in the last couple of years and helping him with his research on Malaria. On June 10, 2019

                                                              ~~
     Witness 2 and Witness 21 traveled to Kisumu,, where Witness
                                                            Witness 24 has been researching Malaria

                                                           -~'YJ ~'v
     for several years. Witness 2 and Witness 21 only observed data at the research site, and they did
     not interview any human subjects. Witness 2 and Witness 21 returned to the United States from
     their travel to Kenya on July 1, 2019. Witness 2 and Witness 21 were th
                                                                           the only UCI medical

                                               ~~-srv~
     students who traveled on this trip to Kenya.

     Witness 24 included both Witness 2 and Witness 21 on his IRB proposal and explained that

     Investigator for the research project.              ~
     Witness 2 and Witness 21 did not have their own IRB because Witness 24 is the Principal
                                           C'                  approximately six months before he
                                   project. It took Witness 24 ap


                                  c❖ ~~°'
     obtained IRB approval for his project in Kenya.

     Witness 24 added that before Witness 2 and Witness 21 traveling to Kenya, he submitted a risk

                       ,eSJ~ ~~~
     travel assessment plan to the office
                                   office of the Institute for Clinical and Translational Science (ICTS)
     at UCI forr both Witness 2 and Witness 2121, and ICTS determined that there was no risk
     associated with Witness 2 and Witness 21 travel plans.
                  ~ '\,- ~
     Witness 24 identified Witness 2 as a Chinese American male and Witness 21 as an Ethiopian


        ~o
     American female.

     Witness 25

 :\,0Witness 25 is an Education Administrator at UCI's Institute for Clinical and Translational
     Science
     Science.

~G   Witness 25 said that in 2019 the Office of Global Engagement conducted a risk assessment for
     both Witness 2 and Witness 21 and determined that the risk mitigation plan for both of them was
     satisfactory and adequately documented. Witness 25 added that Witness 24 was the Principal
     Investigator and the risk assessment plan included the sight of research in Kenya. Witness 24



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   also ensured that Witness 2 and Witness 21 had UCI affiliated faculty support at the research site
   in Kenya while they were there for a couple of weeks in June 2019.

   Witness 25 said that starting in 2018, all medical students interested in research in a foreign
   country had to follow a specific administrative protocol to assess risks associated with their    *"t),
   travel plans. Before 2018, each school had its own procedures, and that Respondent was
                                                                                             ~c
                               ting those procedures to medical students. Witness 25 added that
   responsible for communicating
   Respondent had many concerns about students' safety and wanted to ensure       ~~o
   planned to visit a foreign country had a safety plan in place.

   Witness 26

   Witness 26 is Associate Vice Chancellor, Education, UCI Health Affairs  6 airs and Vice Dean,
   Medical Education. Witness 26 stated that when Complainant approached the School of

   informed t heDean's
   people, of Complainant's request. The executive team disc~ ¥om
                                                                     ,c
   Medicine in late 2016 early 2017 asking for support for her travel to Kenya,
                                                                    c,_
                                                                             Ke      Respondent
                                                                        consisted of seven to eight
                          Medical Education executive team, which consisted
                                                                            ~ ~nt's request to travel
   to Kenya; however, they did not support Complain~ t's.Jl'\,,,~que ~ca'}ge Kenya was on the
   U.S. State Department's travel warning list, and upon~   assessing
                                                                ,         ~issues, they determined
                                                                        safety
   that it was not safe to travel. The executive team also felt that it was not safe to travel because


                                             ~~rv'~
   Complainant organized an independent trip and did not have a faculty member affiliated with
   UCI in Kenyaa to ensure the safety of Complainant as well as the safety of any other medical
   students who might have planned to join Complainant on her trip. Nonetheless, the executive

                                         c'- ~
   team felt that Complainant was free to travel to Kenya on her own if she wanted to do so. The
   School of Medicine did not offer Complainant a stipend because they did not endorse her travel


                                c❖ ~~°'
   to Kenya.

   Witness 26 said that Respondent was among several administrators who re     reviewed Complainant s

                 -OS;~ ~~~
   application and denial for ssupport
                                upport for her travel to Kenya, and Respondent reported the
   information back to Complainant. W  Witness
                                          itness 26 said the process to approve international student
                                                      last couple of years, a more structured protocol
   travel used to be decentralized; however, in the las
                ~ ~
   was put in place. Students planning to travel internationally must involve the Office of Global
                       '\,-
   Engagement and ICTS if there is a research component as part of their travel.

      0
   Witness 26 added that there might have been some "miscommunication or administrative
   o-<$on
   mistakes      the part of Respo~dent communicating the School of Medicine s decision regarding
   the nonsupport of Complainant s travel to Kenya. From Witness 26's perspective, Respondent
   did not engage in discrimination towards Complainant, and Respondent always tried to help


~c>Complainant.
   Complainant Additionally, the School of Medicine administration always tried to help
   Complainant. For example, the School of Medicine paid more than $27,000 that Complainant
   owed, even though Complainant was not enrolled as a student because Complainant failed her
   Step 1 exam. Also, Witness 27, who is part of the executive team at Medical Education, played
   an active role in supporting and mentoring Complainant.




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     Witness 27

     Witness 27 is Assistant Dean, Student Inclusive Excellence, Medical Education; and Professor,
     Obstetrics and Gynecology Department, School of Medicine.

     Witness 27 stated that she always supported and guided Complainant in her studies at UCI
                                                                                                   ~~
                                                                     he had problems with
     Medical School. Complainant did not share with Witness 27 that she
                                                                                           §
     Respondent. However, Witness 27 knew that Complainant experienced some challenges getting
     approval for her travel to Kenya.

     Witness 27 said that Respondent was supportive of Complainant's travel· , 0 ~n
     discussing Complainant's travel plans with the Dean's Medical Educa~~ ~utive team, no
     one felt comfortable supporting Complainant's travel. Still, Complain~        s informed that she

                                                               ,o
     could travel independently. According to Witness 27, part of the reason the School of Medicine
     did not support Complainant's travel to Kenya was that there was no UCI faculty or UCI
                                                                                             Medicin

     affiliated faculty at the sight of Complainant's study in Kenya. A UCI faculty or an affiliated
     UCI faculty is very important to ensure safety and adherence to research
                                                                      research protocol. Ultimately,
                                                             n~ '
                                                          -~'YJ ~'v
     Complainant and several other UCI medical students decided to travel to Kenya without the
     School of Medicine's support. Complainant also traveled to Kenya without securing IRB


                                                  -~-s (\~
     approval, and as a result, Complainant was not able to use the data that she collected in Kenya.
     Witness 27 said that the IRB process is usually lengthy and requires multiple revisions before
     approval.

     Witness 27 also recalled that Complai~ ~vel ~ ~proved because the U.S. State
     Department had a travel warning to Kenya. Additionally, another medical student, Witness 20,
     requested to travel to Nigeria~ ~ S ?w ~ ~s travel was not approved by the executive
     team due to safety issues. Witness 27 said that a protocol for international travel had been
     established recently, and it requires that the Office of Global Engagement handle all international
     travel requests. Prior to this current protocol,
                                            protocol, international travel requests were decentralized,
                                                                                         decentralized
                            e;~ ~e;~
     and the School of Medicine handled international travel requests on its own.

     Witness 27 ~ ~mA.-~ accommodation request regarding testing was granted by

        O ,v
     UCI. However, NBME had ~   its      ~ccommodation criteria. Complainant was "angry" because

      -<$
     NBME did not grant her the accommodation that she wanted. Witness 27 stated that Respondent
     would not have played any role in influencing NBME' s decision regarding Complainant's
     0
     accommodation request and that NBME is an independent entity.

     Witness 27 indicated that a lot of people in the School of Medicine thought that Complainant had
&     anguage struggle" because English was her "sixth language."


~    Witness 27 recalled checking-in with Complainant while Complainant was studying for her Step
     1 exam and knew that Complainant ultimately passed the Step 1 exam on the third exam attempt.
     Since Complainant did not pass the Step 1 exam the first time, Complainant had enrollment
     issues, which negatively impacted her financial aid and housing. Students must be enrolled in
     order to maintain their student status.


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 Witness 27 said, "I can't picture" Respondent telling Complainant, "If it is that difficult for you,
 why don't you go back to your country?" because Respondent always supported Complainant.
 Witness 27 believed that there might have been "bad communication" between Complainant ~              (bi
 Respondent but did not believe Respondent discriminated against Complainant. Additionally,

                                                                                          ~c
 Witness 27 thought that the administration at the School of Medicine supported Complainant;
 however, Complainant was frustrated because the School of Medicine was not able to help with
 certain things like keeping Complainant living at campus housing. After all, Complainant was
 not enrolled as a student. Witness 27 added, "I am not sure what we could have_,go~           rently.
 Had [Complainant] passed Step 1 exam, these issues wouldn't be here."           ~r


                                                                    6
 Witness 27 stated that she reached out to Complainant recently and congratulated her on passing
 the Step 1 exam and invited Complainant to join a funding support group at UCI at the
 recommendation of Witness 26.
                                                                  ,a
 OTHER EVIDENCE



  Exhibit Number       Description
                                                      •-s>~ ev'
 During the course of this investigation, the below documents were reviewed.
                                                                   reviewed.

                                                                                Provided By
  1                                                                             Complainant
  2                    Email Correspondence between Complainant and             Complainant
                       Witness 4 & Step 1 Exam Accommodation Letter
  3                    Email Correspondence between Complainant and             Complainant
                       Witness 4 Related to Scheduling of Step 1 Exam
  4                    Com                                                      Witness 16
  5                                                                             OEOD
  6                    Witness 2 and Witness 21 Zotfunder for Kenya Trip        OEOD
  7                    U.S. State Department Kenya Travel Warnings for          OEOD
                       2016 & 2017
  8                    U.S. State Department New Travel Advisory &              OEOD
                       Newspaper Article on Travel to Kenya
  9                    UCI School of Medicine Exam Administration               OEOD
                       Procedures
  10                   UCI School of Medicine Due Process Policy                OEOD
  11                   UCI School of Medicine Leave of Absence Policy           OEOD
  12                   Text Messages between Complainant and Witness 21         Complainant
  13                   Complainant's Email regarding her Passing Step 1         Complainant
                       Exam
  14                   Denial of Accommodation letter from NBME to              Witness 3
                       Complainant
  15                   Complainant' s Email Request to DSC to Share her         Witness 3
                       Accommodations with OEOD

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           16                  International and Independent Study Research             Complainant
                               Rotation Application
           17                  Complainant's Response to the draft report               Complainant
           18                  The New Associate Dean's Respondent to the draft         New Associate
                               report                                                   Dean
           19                  Complainant Email and School of Medicine Policies        Complainant

          Exhibit 1

          Messages are produced in full below. Typos are from the parties.

          Communicated Related to Ultrasound Trip, IRB, and Travel Warning to Kenya

                                                                  ,o
          On February 2, 2017, Complainant emailed Witness 6, Department Chair, School of Medicine,
          saying in part,


          I"Iwou                                               -~~ ~'v'             today-
                                                                                    today-
                  ld like to thank you for taking your time to answer my questions today-thank  you!
            have a quick question, Kenya still has a travel advisory notification from the U.S. department

                                                       -~~ (\'vi                        ..
          of state on the border of Somali and Kenya. I spoke to [Witness 30] earlier today
                                                                                        t     and she
          mentioned that we might have trouble with our IRB approved due to this issue "(Exhibit 17, p.
          115).

          On February 28, 2017, Witness 30 enQl~      omp~ n~           ing that the Kenya "!RB Survey

          !RB "needs to be edited" (Exhi~ 7,,Vp. 119).~   o,
          Study - needs to be changed to exem~ ~ pointect~ ~          o other elements of Complainant's


          On March 19, 2017,, Witness 6 emailed several leaders from the School of Medicine, including
                                   ~c             'h-Cd
          Respondent, Witness 26, and Witness 27, saying,

          "Solwasappro~                    ~~
                                      Com plainant] at Match and I explained (briefly) that as of January
          2017 Kenya has a U.S. Dept. of State Travel Warning and I showed her this website

                                     ~
          https://travel.state.gov/content/passport/en/alertswarning/kenya-travel-warning.html
                    avel.state.gov/content/passport/en/alertswarning/kenya
                  o<)
          website link is no longer active] (Exhibit 1, p. 301).
                                                                                                 [The


          On March 20, 2017,
                       2017 Complainant emailed Witness 17, Former Research Coordinator,
           0~
          Emergency Medicine, saying,

   ("-~ ";Witness 30] mentioned that you would be able to help us go over/edit our IRB to make sure
    V
~ ~ 1/iey are ready for submission ... " (Exhibit 17, p. 122).
~         On March 21, 2017, Respondent emailed Complainant [and CC' ed Director of Student Affair
          and Witness 6, Department Chair] saying,

          "As promised, I reviewed the travel warning for Kenya with [Witness 26, Associate Vice
          Chancellor, Education, UCI Health Affairs and Vice Dean, Medical Education].

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   Due to this warning, UCI will not be able to officially sponsor the trip. This means that the
   school cannot provide financial or administrative support. In addition, the principal investigator
   on the IRB must be aware of the travel ban and not be a Medical Education Dean.
                                                                                                    *"t),
                                                                 thout this being an official SOM
   Of course, students may go to the Kenyan ultrasound trip without                                 C
                                                                                        §
   event. I urge everyone participating to review the warning carefully and to seek advice
   regarding traveling in this area as well as obtaining travel insurance.

   Please let me know if you have any remaining questions about the travel policy. I know how
                                                                               300).
   important this trip is to you and I wish you the very best!" (Exhibit 1, p. 300).

   On May 10, 2017, Witness 30 emailed Complainant saying in part,

                                                                    'C
                                                                     17, p.126).
                                                                     17
   "Kenya: Waiting for response/request for edits from IRB" (Exhibit 17, p.126)

   On May 31, 2017, Witness 18 emailed Complainant a letter
                                                        etter from the IRB office requesting that
                                                           n~ '-
                                                                "'v
                                                                117,, p. 127).
   Complainant make multiple edits to her IRB proposal (Exhibit 17
                                                     •  S>--0
                                             . ~
   On June 8, 2017,, Complainant emailed Witness 18
                                                 18,, saying,

                                                 ~
                                                              rv'-.J
                                         ~>-
   "Thankyoufor forwarding us the edits. Unfortunately, we cannot seem
                                                        Cl,~\     see to access the "editable
                                    °'c'Fl't,/Jis
   /RB application" that is mentioned f         st~           V    1 p. 127).
                                                          (Exhibit 17,

   On June 27, 2017,, Complainant emailed Witness 18 saying,

   "I am enquiring regarding th"  4    of our I~
   requested by the IRB team on June 16th
                                                0
                                               RB. We sent out an email with the elements
                                                                   (Exhibit 17, p. 131).
                          ~~"Q:~'fb.~e            not heard back"
   On July 4, 2017, Witness 18 emailed Compla
                                       Complainant saying,

   "A member: t " ' \ ~a-~         ~~ ld us that he has received the edi ts and that they are
   currently6 Yiewed. •~               ~heir response/apprava/" (Exhibit 17, p. 132).

                  2017, Respondent emailed Complainant and Witness 21 saying,
   On October 25, 2017

    f:i?J~ th ofyou are outstanding ... We are beginning our planning ofthe ultrasound trips and




~
 c>of course, I have been concerned about the travel warnings for both Nigeria and Kenya.
   Unfortunately I have confirmed that there have been no change to the US State Departments
   Travel Advisories for both of these countries, so UCI will not be able to sponsor these trips. We
   will be meeting with the ultrasound trip leaders soon and I want to make sure you understand
   there is no disrespect if we continue without you. If there is any information you wish to obtain
   for now or future years, please feel free to join any scheduled meetings.




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     I certainly hope that these issues change in the near future and wish you the very best in your
     endeavors. Please feel free to contact the University office for International Travel for any
                                              ,,
     information they may be able to provide (Exhibit 1, p. 301).

     Complainant replied on the same day to Respondent's email saying,                        ~(bi
     "Thank you Dr. [Respondent]! I forwarded your email to the rest of the group and we ....~
     back to you. Thank you again for your support :) ,, (Exhibit 1, p.302).           ~
     Complainant provided a document showing that on April 19, 2019 , the US Stat            artment's
     Travel Advisory listed Kenya at level two
     terrorism and kidnapping. .. " (Exhibit 17, p. 109).

     Communication-Related to DSC, NBME, Step 1 Exam and Co~                  ainant's Accommodation

                                                                    ~~
     On January 23, 2017,, Respondent emailed the former Director of DSC saying,

     " ... I have a wonderful student, [Complainant], who is~ ~ri~                  speaks several
            uages. I have copied her on this email. However, since English is not her first or second
     languages.

     comprehension issue.

     Can you assist us with this? I believe that
                                                   -~-s (\~
     language, doing well on exams has been a challenge. I realize that this is a language


                                                 increased tim
                                              ~--«:,,        ~       xams would make sense for her ... "
     (Exhibit 1, p. 203).

                                           C          D~
     Complainant emailed Respondent regarding the above email saying,

     ''Thank you so much Dr. ~
                                     ~            e;
                                     dent]"':bic::s



               so~~~~~
     Respondent replied,

     "You Me                -


             0
     Complainant replied,

          l. Thank you,
     ~        nant]"( Exhibit 1, p. 203)


c>
~
                    2017, Respondent emailed the former Director of DSC saying,
     On February 1, 2017

     "Were you able to see [Complainant??] I am worried about her-she is so wonderful and I don't
     want her language comprehension to set her back ... " (Exhibit 1, p. 204).

     On March 1, 2017, the former DSC Director, emailed Respondent regarding Complainant
     saying,


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     "I am providing this letter of verification for the purpose of validating the student 's disability
     related need for accommodations. The student has a professionally documented disability and is
     currently registered with the Disability Service Center at UC Irvine" (Exhibit 1, p. 313).
                                                                                                     *"t),
     The same email shows Complainant was approved for the accommodations: extended time on         C
     exams: Time
              me and one half; Separate Location (DSC); and Assistive Technology: Kurzweil.

     On December 1, 2017, NBME emailed Complainant saying,
                                                                                           §
     "The National Board ofMedical Examiners (NBME) processes reques~          ~
                                                es Medical Licensing Examination (USMLE)
     accommodations on behalf of the United States
     program. We have received your request for test accommodations for V ;MLE Step 1 ...

                                                                 ,c
     Please provide us the documentation from your mental health provider that [Witness 3] said she
     received in her November 20, 2017 letter. "


                                                          -~'YJ ~'v
     Once we have received this additional documentation, we will process your request and
                                                             (4,~   '
     submitted documentation. If necessary, we may contact you to request additional information.


                                                   -~-s (\~
     All written correspondence regarding your request, including the decision letter, will be sent to
     you electronically via email. When our review is complete, you will receive an email from us
                                                                  (Exhibit 1,p.
     with the decision letter attached as a Plf!.:-<i!;,ent ... '~(Exhibit 1, 171).

                                          Q          ~~
     On January 2, 2018,, NBME sent a letter to Complainant at Complainant's home address
     regarding Complainant's reque~    accommo~~       for her Step 1 exam. NBME wrote in part,

     "We have thoroughly rev~(/j,e docu71...",'<9,,n provided for your request for test
     accommodations for the~    "'\, ~rij
                            United States Medical
                                           I}' Licensing Examination (USMLE) Step I ...
     In your personal statement you write that you are requesting additional testing time for the
     USMLE Ste~ ~es'~ '~ disorders. " You reportedly struggled with test anxiety
                                   ~
     during your first year of medical   school
                                            • . You explain that you were on the "verge offailing
     clas~es" ec I? of the number of questions on exams, the "level ofspeed and concentration"
     requ· e         e exams, and the "short amount of time that is required to finish exams." You

     0
     worked with advisors, counselors, and school psychiatrist, and were diagnosed with "specific
     phobia test anxiety." You write, "I went through proper procedures that are required by my
     phobia-
     institution and was approved for an extended time to take my exams in an isolated room to
◊duce         destructions [sic]. This determination fixed my problems. "


~    Included with your request was a November 20, 2017/letter of support by [Witness 3], MS,
     Senior Disability Specialist, who writes that your diagnosis of "Specific Phobia - Test Anxiety"
     does not hinder your abilities except in timed examination that require high levels of sustained
     concentration. [Witness 3J states that she "wholeheartedly" supports your request for additional
     testing time ... "


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     The purpose of testing accommodations is to provide access to the USMLE testing program for
     individuals with a documented disability as defined by the ADA, not to optimize test performance
     or ensure a passing score ... "
                                                                                                     *"t),
                                                                                         ivity as
     Your documentation does not demonstrate a substantial limitation in a major life activity      C
                                                                                           §
     compared to most people or that the requested accommodations are an appropriate modification
     of your USMLE Step 1 test administration. Therefore, after a thorough review of all of your
     documentation, I must inform you that we are unable to provide you with the requested
     accommodations ... "(Exhi

     On April 16, 2018,, Complainant emailed Witness 3 from DSC saying,

     " ...I am just checking to see ifyou heard back .from USMLE regar~       step 1 accommodation.
     Please let me know" (Exhibit 1, p. 208).                          ,v

                                                 ~~~fi!:!j"'JJ~
     On April 19, 2018, Witness 2 replied,

     " ... I have not heard back I can lry calling again.

     Complainant replied,

     I'm taking it on May 3. Please let me
                                              -~
                                             ~~t
                                                   (\~
                                                        th, ~(Exhibit 1, p. 208).
                                                             (Exhibit

     On April 30, 2018,, Complainant emailed Witness 3 saying,

     " ... Have you heard anything~        BME? S~         call them to fol/aw up or what's your
     advice? Also, I just wanted to let you that I changed my test date to Monday May 7 th just so that I
                             'ZJ~            'ZJ"t),~
     can review one last time. Please let me know if there is anything I need to do" (Exhibit 1, p.
     209).

     On May 7, 2018,   ~                ~
               2018, Witness 3 emailed Complainant saying,

      "I was of!!J~ffice last~            was informed you call me this morning. I left you a voicemail


     ~~-
                                                    wer able to push back for another week to give
     a few minutes ago. I am glad to hear that you were
     you extra time to prepare. I believe you may be taking your exam now. I wish you the best. The
     1~           • 1st
             uec1s10n • hat your request d"d1 not qualify          1 1ty " (Exhibit 1, p. 209).
                                                      1 as a d.1sab·z·


c>
~
                2018, Respondent emailed Complainant stating,
     On May 30, 2018

     "I was informed today that unfortunately you did not pass Step 1. I am very sorry to hear this
     and know that you worked very hard to prepare for the exam. Please do not panic-we will figure
     out what is your next best course!




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   We really need to reflect on why you think you did not perform to your capability-anxiety that is
   not controlled, reading issues, prep materials or text taking strategy. Think about this a bit and
   we should meet soon to discuss. I usually strongly recommend a formal prep course in this
   situation- I know that they are expensive, but they have good results.

   For now, you will complete your current clerkship, then take an academic leave of absence in
                                                                                                   ~~
   order to prepare for and pass Step 1 ... " (Exhibit 1, p. 177).

   On June 1, 2018, Witness 3 emailed Complainant saying,
                                                                                         §
                                                                                      (Exhibit 1, p.
                                                                                      (Exhibit
   209).

   On June 1, 2018,, Respondent emailed Complainant saying the following:
                                                               ,o
   "I have spoken extensively to the NBME regarding any possible recourse for additional time due
   to a language issue.

                                                        -~'YJ ~'v
                                                           (4,~   '
   I have received their final word that because this is not a defined ADA disability, they are unable


                                             ~~~rv'~
   to provide any assistance.

   I am sorry that this is not possible forr you. Please let me know how you are doing with exam
   preparation " (Exhibit 1, p. 175).

                                        C\,            ~
   On June 18, 2018,, Complainant emailed Respondent saying,


   let me know, thank         (Exhibit 1, p. 177).
                              (Exhibit

   On July 5, 2018,, Respondent emailed Complainant saying,

   "We have r~ ~na~                     NBME -they will not be extending accommodations for you.
   I am sorry about this and want to ensure that you are doing all you need to do your best on the
   exam. Have you decided to take a formal course or do you think continuing to work on questions
   will~         best?" (Exhibit 1, P. 177).


 ~o            2018, Witness 19, Former Director, Financial Aid Services-School of Medicine,
   On July 20, 2018
   emailed Complainant saying,
   emaile

~G "/ met with [Respondent]. As per her email, she is approving the Kaplan prep course ffor the
   Step 1 Exam]. We will offer you a GraduatePLUS loan in the amount of $5,225 to cover the prep
   course, step 1 fees, and study material subscriptions" (Exhibit 1, p. 182).




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   On November 4, 2019, Complainant emailed Witness 3 saying,

   "... I was wondering ifyou can email me the decision email/letter that you received from NBME       "Z>,
   stating that my request did not qualify as a disability from the email you sent me on May 07,
   2018" (Exhibit 1, p. 211).                                                                    ~
   On November 10, 2019, Witness 3 emailed Complainant saying,                            ~c
                                                                         6
   " ... Seeing you in the lobby today reminded me that I needed to double to chec~
                                                                    ot contacted by NBME directly.
   responded to you. I realize that I did not, my apologies. I was not


   On November 10, 2019,, the New Associate Dean emailed Complainant saying,
                                                                            Exhibit 1, p. 212).
   That was from our conversation about the denial letter you received" (Exhibit          2



   "I was not able to locate any written communication between the'NBME
                                                                    Q and the school with
                                                            Exhibit
   respect to your question, but I can continue to searc~~ (Exhibit  ~"v'
                                                                     21 ).
                                                              ~1, p. 217).
   Campus Housing Exemption



                                           -~~
   On April 2, 2019,, Respondent emailed Witness 9, Acting Associate Director of Apartment Life,
   Verano Place Housing, saying,
                                               (\~
   "I am writing in support ofa housing  K~n       for [~        inant]. She is a student in the
   School of Medicine, who is currently not enrolled due to her need to study for a USMLE board

                                    o"'
   examination. She is unable to proceed with her curriculum unless she passes this exam. This
                                        C
   USMLE Step one examination is also a requirement for graduation.

                                c❖ ~~
   [Complainant] has been compliant in her pursuit of achieving this goal. She has taken a

                                     ~~~
   remediation course in order to prepare, as well as continued consultations with
                                                                              wit our learning
   Sills Specialist. ,(L~'Q,,

              ~        '\,-   ~
   [Complainant] expects to take and pass this examination in July [2019]. It would be most helpful
   for her to continue to live on campus while she prepares. She expects to re-enroll
                                                                            re        as soon as she

           0
   takes the exam.

   I very much
          much appreciate your consideration of this housing exemption. I believe that this support
   @   ~      ortant for her success" (Exhibit 1, p. 242).



~c>stating,
               2019, the Assignments Supervisor at Verano Place Housing emailed Complainant
   On April 4, 2019


   "This letter is in response to the Exceptions Petition you submitted to the Verano Place Housing
   Office on April 3, 2019. The Exceptions reviewed our request for an extension of stay/lease
   rental renewal for 2019/2020.



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  Your request to remain in housing until the date you requested has been denied, however, you
  have been given a vacate date of May 31, 2019. The vacate date will not be extended beyond
  May 31, 2019 and a lease renewal is not an option. Because you are not enrolled as a full-time
  UCI student, you are not eligible for on-campus housing.

  When reviewing exceptions petitions and considering those that warrant an exception to
                                                                                                 ~~
                                                                                         ~
  Graduate & Family Housing Policies, the committee looks for those requests which are based on
  extreme or unusual circumstances. Baseded on the information you provided the committee, your



                                                                             ~~
  request does not meet these qualifications" (Exhibit 1, p. 241).

  On April 25, 2019, Respondent emailed Witness 9 saying,

  "I met with [Complainant] today and she remains upset about needin~           cate her apartment
  by 5/31 if she is not enrolled in the Spring, which she is not...    C,
                                                                 ~~
  [Complainant] is in this country entirely alone and she has no one to assist her financially or
  with housing. Community apartments or rooms are all several hundred dollars more  mor expensive

                                                        --S>~ "'v'
  than her current on campus housing and she was not expecting to vacate the premises due to
  what she thinks she was told previously. She has not been able to take her National Board
                                                .
  foreign student and this process take many months.  ~
  Examination because she has applied for accommodations due to her   h er language issues as a
                                                                 rv'-.J
                                                       The Disabilities  Services Center is helping
  with [Complainant'sJ application to testi~ ~od~                   t this process is very slow and is
  the reason she is currently not enrolled for Spring.

                                        c'- ~
  I realize and greatly appreciate that housing is very tight, however, I am also very concerned


                               c❖ ~~°'
  that [Complainant] is in a difficulty situation that will make it almost impossible for her to
                                20).
                                  ).
  succeed ... " (Exhibit 1, p. 220).

  Leave of Absence (LOA)
                    LOA) Petitions
                                ~~<r,;
  Documents submitted by Complainant show that Complainant was approved for an LOA from
  12/3/201:!~ ~ Tw::'1, ~ ation given for Complainant's LOA was "to study and
                                   0



  retake Sto yExhibit 1, p..~243). ,.

                          submitted by Complainant show that Complainant submitted another
  Additionally, documents su
  rp,\~2/2019. The justification for this LOA indicated, "Student unable to proceed with MS
  ~     culum due to USMLE Step 1 failed attempts" (Exhibit 1, p. 245).


~&- - - - -            Committee (P&H) Investigation
  Promotion and Honors Commi

  On August 23, 2019, the Associate Dean of Clinical Education wrote a letter to Complainant
  informing her since she was in violation of the Grading Policy because Complainant,

  "failed to resolve an Incomplete grade for Surgery Clerkship shelf failure within one year of the
  clerkship end date. "Additionally, Complainant was in violation of the Student Academic and


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           Professional Standing Policy, since she "has not passed the USMLE Step 1 exam within one year
           of the last day of her second-year curriculum" (Exhibit 1, p.28).

           On September 30, 2019,, Witness 9, chair of P&H, emailed Complainant informing her that the
           Associate Dean of Clinical Education, informed P&H that she has violated the above two              *"t),
           policies. As a result, Complainant was"eligible for Academic Warning, Probation, Suspension,       C
                                                                                                     §
           or Dismissal from the School of Medicine" (Exhibit 1, p. 27). Witness 9 informed Complainant
           that P&H would review her case on January 6, 2019.

           The P&H investigation regarding the policy violations
                                                              ns concluded the following:
                                                                                              ~
           "[Complainant] has two academic policy issues that need to be addre' 6 ~t, she has an
           NBME Surgery Shelf failure during her Surgery Clerkship that was not remediated within one
           year from the end date of her surgery clerkship.
           Clerkship leadership about next                              ,c
                                                           hip. While she did have discussions with the Surgery
                                          ext steps, it does not appear that an extension was formalized. The
           grade for this clerkship has been converted to Fail. The second issue involves the USMLE Step 1.
           [Complainant]nt] has taken the exam twice; however, has not passed the exam within 1 year of the
                                                                      n~ '
                                                                   -~'YJ ~'v
           end of her second year curriculum. This makes her eligible for academic probation.
           [Complainant] also must pass the USMLE Step 1 on her third attempt before March 13, 2020 or


                                                         -~-s (\~
           she will be eligible for dismissal" (Exhibit 1, p. 29).



                                                 a~~
           Exhibit 2

           On August 6, 2020, NBME wrote in
           Room," they would be providing Co~
           USMLE Step 1 exam:
                                              :s
                                           ~ e;
                                                       ant
                                                             Co~       ~      that in addition to "Separate Testing
                                                                   th'1>following accommodations for the


           " Additional testing time
                                       ~c         half: The exam will be administered over two days.
                                    time and one half:
                                                    (J),ca
                     o Day one will be 6 hours and 30 minutes in length and will include a 30 minute

                            ~~~~
                       tutorial and 7 blocks with approximately 20 questions per block.
                     o Day ttwo
                             wo will be 6 hours in length and will include 7 blocks with approximately 20
                       tutorial questions per block. You will have up to 45 minutes to complete each
                   o ~     k. You w~       ive 45 minutes to break time each day, including lunch ... "

                        2020 Complainant emailed Witness 9, Chair of P&H, saying,
           On April 26, 2020,

           {il/~j,    in the process of obtaining accommodations from NBME and attorney is dealing with
          that. Thus, I am requesting that I be given an extension tentatively through August 30, 2020. I
          am choosing this
                         th date to request as a placeholder due to the uncertainty of the current
.~::::f
     ! : J: 'i,cumstances" (
                             Exhibit 1, p. 16).

           On May 11, 2020, Witness 9, saying,

           "At this May 4th, 2020, the Committee on Promotions and Honors ("Committee'') took up your
           request to extend the previously set deadline for taking the USLME Step 1 exam. The Committee


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   agreed to extend the deadline to August 30, 2020. In addition, the Committee is requiring that
   you submit to the Committee all written correspondence from this time forward between you and
   NBME regarding scheduling of test" (Exhibit 1, p. 8).

   Exhibit 4                                                                                      *"t),
                                                                                                 C
                                                                                        ~
   On February 17, 2017, Complainant submitted an intake document from to DSC describing her
   disability or diagnosis as follows:

   "I speak multiple languages and that interferes with my information processing time. I would
   really appreciate ifI can get additional time while taking exams. "

   Exhibit 5

                                                               ,c
   The document shows a UCI ZotFunder webpage that Complainant utilized to privately raise $17,
   749 for her June 2017 ultrasound trip to Kenya.


                                                        -~'YJ ~'v
   Exhibit 6                                               (4,~   '


                                            ~~~rv~
   The document shows a UCI ZotFunder webpage that Witness 2 and Witness 21 utilized to
   privately raise $1, 630 for their trip to Kenya in the summer of 2019.

   Exhibit 7

                                          ~
                                         ;J
                                                      ~
   On June 30, 2016, the U.S. State Department issued a travel warning
                                                                 warnin to Kenya for U.S. citizens
   due to "potential terrorist ilireats~ ;,f high rih r crime iliroughout the country." A second
   U.S. State Department travel warning to Kenya from January 13, 2017 indicated that Kenya
   faces "potential re~~~~~~~                        of crime iliroughout the country."
   Exhibit 8

   On January 10, 2018, the U.S. State Department introduced a travel advisory system to U.S.
   citizens, ~        the previ~       avel Warnings and Travel Alerts." The new system provide d
   levels of advice
             advice ranging from 1 to 4:


   0~ -
      -
      -
          Level 1
          Level 2
                    Exercise Normal Precautions
                    Exercise Increased Caution




~
 c>   -
      -
          Level 3
          Level 4
                    Reconsider Travel
                    Do Not Travel

   A newspaper article published in a Kenyan newspaper dated January 11, 2018 confirmed the
   U.S. State Department' s new travel advisory system. The same article indicated that Kenya was
   "placed in the second tier under the new system" and "When visiting countries in that grouping,
   U.S. citizens are urged to 'exercise increased caution."' The article went on to say that "The US



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     in the past warned against travel to Kenya, prompting complaints that such notifications were
     unjustified and damaging to the nation's economy."

     Exhibit 9
                                                                                                                     *"t),
     UCI School of Medicine policy regarding USMLE Step 1 examination indicates,
                                                                                                              ~c
     modules/courses.
     "
                                                                                    second--year
                                                                                    second
       Students are required to take USMLE Step 1 examination after passing all second-year
                                                                                                   ~~
                       Students must take the USMLE Step 1 prior to the start of Clinical Foundations
     III and third-year clerkships or prior to the start of an approved Academic leave of absence after
     the second year. If a student is not able to meet the deadline to take USLME Step 1, they will be
     placed on Administrative Leave ... This will result in the student's excl•"'1o~ "m the Clinical
     Foundations III course, the third-year c lerkships, and/or graduate cou~ y

                                                                states ,
     Regarding exam accommodations and reports, the same policy states,           ,a
     "Any special accommodations need to be requested               ~ir~~
                                                                       theW "(refer to the
                                                                  encoura ged to utilize the UCI
     USMLE Test Center Accommodations site). Students around encouraged
     Disability Services Center (DSC) for assistance during this process (refer to UCI Disability


                                                fail the USMLE Step 1 exam will be placed on
     The policy also mentions that students who fail
     Administrative leave and,

     "Subsequent attempts to pass USML~           1 w~ ~ eduled in accordance with USMLE
     rules. To be taken off of Administrative Leave and return to their course of study, the student
     must pass USMLE Step 1 by ~           rd atte~       in 24 months ofthe end for that student's
          .
     requirements ...
                      "
                              ~~
                                   ~               ~~
             year curriculum, which comes first, provided they have fulfilled all other curricular
     second-year
                                                  e;v
     Additionally, "St~       r~;'ljgil~ ' academic probation if they do not pass the USMLE Step
     1 within on~ 7 ) i;;;n~             tudent 's second-year curriculum. Students are eligible for

               0V
     dismissal from the School of Medicine if they do not pass the USMLE Step 1 exam after three
     attempts within 24 months of the end ofthat student's second-year curriculum. "


     0~
     Exhibit 12


0,   On October 27, 2020,
                    2020 Complainant provided a few text messages she said she had with Witness
        about Witness 21 's trip to Kenya with Witness 2.

~    In response to one of Complainant's questions, Witness 21 wrote, "we each received $1000 for
     our trip. I am not sure if this was from UCISOM admin or from ICTS 25 directly. "

     25
       UCI's Institute for Clinical and Translational Science (ICTS) is funded by the National Institutes of Health (NIH)
     under the Clinical and Translational Sciences Award (CTSA) program. Currently, there are more than 50 medical
     research institutions throughout the United States that receive CTSA program funding. ICTS functions as a local

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     Witness 21 also wrote,

      "We did not have to provide documentation regarding security. That was all handled by ICT~ { b i
                o, we did not actually need to write or submit an IRB. Our PI already had one made
     for us. Also,
     for the project and that was the one that was submitted and approved "                  ~                     CJ
     Witness 21 added, "We didn't do ultrasound research, we're doing malaria rese_ar~                   ~~
     working more with other diagnostic tools ... "                              ~ ..,,,

     Complainant asked Witness 21 "Who was the group leader for the Ken~                          ?"

     Witness 21 replied,

     "There were only two of us on the trip so there wasn't really a ~                    ader, but the other
     person I went with was [Witness 2]."                          ~

     Complainant asked,

                                                                 ~
                                                                   -~~~~
                                                                       "'v'
      " Was he [Witness 2] the one who organized the trip or it was you? Just wanted to know coz I
     never got a chance to publish my work and I ffi~        to gr \~ 4/ttion for that. Btw, neither


     trip?"
     Witness 21 replied,
                                          chool would just want to make sure that there was no other
     you nor hi will get in trouble. The school
     reason for the differences between my 1(iP
                                                c" 0  ~
                                                     our trif\
                                                                  ,,v O.t
                                                                    all. Do you /maw who created the
                                                                            10




                                                                           stics. That was all done
     through ICTS. All we had to do was buy our ticket, have a passport, raise money, and sign some
     forms and everything else was pretty much done for us. Oh, and secure a hotel for ourselves
     too. "

     Exhibit 13

               0
     On October 28, 2020,
                    2020 Complainant emailed OEOD saying,

     G~ke to inform you that my Step 1 score is out and IPASSED my exam!"


~
 0           1
     Exhibit 17

     On December 9, 2020, Complainant provided her response to the draft report. Complainant's
     responses where relevant regarding her statement are incorporated in the body of this report.
     Complainant also made multiple comments and raised questions regarding the New Associate

     centerpiece for the national program, and is dedicated to advancing scientific discovery and medical breakthroughs
     (www.icts.uci.edu).

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 Dean's statement and as well as the statements of several witnesses. In some instances,
 Complainant disputed aspects of the New Associate Dean and well as witness' statements.
 However, Most of Complainant's comments and questions are not related to the scope of the
 investigation, or the information requested is not available.

 In her response to the draft report requested that two additional witnesses,, Witness 28 and
 Witness 29, be interviewed as part of this investigation.

 Exhibit 18

 On December 9, 2020,, the New Associate Dean provided her response to the draft report.
 Complainant's responses are incorporated in the body of this report.

 ANALYSIS & FINDINGS:

 The role of the OEOD Investigator is to be a neutral factfinder. In conducting this investigation,
 the Investigator does not set out to prove or disprove the allegations or responses but rather
 gathers information in a neutral fashion and objectively analyzes the information to reach
 reasoned conclusions. The Investigator may gather information by contacting the witnesses
 suggested by the parties for interviews. The Investigator may also identify and interview
 additional witnesses with relevant information. The purpose of interviewing these individuals is
 to gather material information irrespective of whether the information turns out to be favorable to
                                                          doc umentary evidence submitted by
 one party or another. The Investigator also reviews all documentary
 parties and witnesses and gathers additional information as necessary.

 Credibility Determinations

 When there are disputed issues of fact, it is necessary for the investigator to conduct credibility
 assessments. The determination
                    determination as to whether parties and witnesses are credible is not a
 determination as to whether they are honest people or whether the investigator believes the
                                                                                          fact-finder
 parties and witnesses are telling the truth. Rather, credibility assessments require the fact
 to weigh the relevancy and veracity of information received during the investigation. The
 following factors are used in conducting credibility assessments: the consistency of information
 provided or lack thereof; the inherent plausibility of statements m made; demeanor; corroborating
 evidence or lack thereof; actual knowledge; omissions in testimony; and motives to falsify
 (possible bias or exaggerations).

 The investigator will examine any contradictions in testimony during an interview or across
 multiple interviews to determine if they are major or minor shifts. If there are inconsistencies in
 the testimony provided by interviewees, the investigator will determine whether the inconsistent
 or omitted information is material to the case. It is important to note that a single lie from a party
 or witness, or a single piece of information that is omitted, inconsistent, not corroborated, or is
 not initially provided, but provided later, does not destroy credibility entirely in most cases. The
 investigator must weigh whether the lie or inconsistency is isolated or if it is enough to
 undermine the credibility of the party or witness entirely.


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 The credibility assessment conducted in this case is discussed in detail below.

 Complainant
                                                                                                *"t),
 Complainant provided plausiblele and consistent testimony throughout the investigation. There  C
 were no notable omissions in Complainant's testimony. During the investigation, there was~
 nothing remarkable about Complainant's demeanor, and no possible bias or motive
                                                                               isse~ to ~
                                                                                        falsify was
 suggested or identified. Corroboration of the Complainant's testimony is disc~ y ...

 Respondent

                                                                        6
 This investigator did not contact Respondent because she retired in June 2019,
 employed by UCI, and was not available to participate in this investigation.
                                                                              2019 is no longer
                                                                       stigation Therefore, the New
                                                                 investigation
 Associate Dean of Students at the School of Medicine was treated as the Respondent in this case.
 There were no notable omissions in the New Associate Dean'{!;_      C
                                                                   testimony.
                                                                    "'-.,       During the
 investigation, there was nothing remarkable about the New~           iate D~     demeanor, and no
 possible bias or motive to falsify was suggested or identified. Corroboration of the New
 Associate Dean's testimony is discussed below.

 Witnesses
                                                    ~"7          rv~~
 Overall, I found the testimony of the witnesses to be cre
 was limited by their unique opportunity to have direct knowledge of the specific allegations, I
 found that they individually provided their best recollection of events spanning over multiple
 years. The witnesses
               itnesses provided factually consistent accounts of events and corroborated each
 other's testimony with enou~          e details~       etennined there was no collusion. I found
 nothing remarkable about the demeanor of the witnesses.

                          se to the draft report, Complainant disputes aspects related to the
 testimony of several witnesses and provides her own perspective regarding what may have
 occurred, but in many instances did not provide alternative evidence or support showing that
 witness statements should be viewed as unreliable
                                           unreliable.

 Findings:

 The factual findings, in this case, were made by carefully and objectively analyzing the
 testimonial and documentary evidence under the preponderance of the evidence standard
                                               The preponderance of the evidence as a standard of
 required by the applicable University policy. T
 proof requires that a fact be found when its occurrence, based on evidence, is more likely than
 not.

 Based on the factual findings, the Investigator is required to make a determination as to whether
 the applicable University policy was violated. In an OEOD investigation, a Respondent cannot



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           be found responsible unless, following a thorough and impartial investigation, the preponderance
           of the evidence shows that the alleged conduct occurred in violation of University policy.

           The applicable University policy for this investigation is the Nondiscrimination Policy Statement
           for the University of California Publications Regarding Student-Related Matters; UC Policy on      *"t),
                                                                                              .A. General);
           Discrimination, Harassment, and Affirmative Action in the Work Place (Section III.A.   General);  C
           and UCI Guidelines on Discrimination and Harassment (Sections C.1 Prohibited Conduct
           Discrimination).                                                                         §
           Ultrasound Trip to Kenya

           Complainant alleged that Respondent, in her role as Associate Dean in the School of Medicine,
           treated Complainant differently based on her color/race, citizenship, national origin, and sex
           when Respondent did not sponsor Complainant's project in Kent ~ ~ 016 -2017, yet granted
           approval and funding for a white male student's project in Keny~        18 -2019.

           Based on party and witness statements, as well as the documentary evidence,
                                                                                   evidence the U.S. State
           Department issued a travel warning to Kenya for ~~~9efue~                        fil rerrorist tlrrea~
           and the high risk of crime throughout the country on June 30, 2016.2016 On January 13, 2017, a
           second travel warning to Kenya was issued by the State Department,
                                                                       Department, reiterating the same June
           2016 warning. Itt is unclear when Complainant and Respondent first spoke about the U.S State
           Department's travel restrictions to Kenya~ ~th~ ~ows that Complainant was
           aware of the travel restrictions as early as 2017. For example, the evidence shows that on
           February 2, 2017, Complainant emailed Witness 6, Department Chair, School of Medicine,
           telling him that "Kenya still has a tra~       iso~ oti ation from the U.S. Department of State
           on the border of Somfili Keno ~    The  evidence
                                                   evidence
                                                         ~e;'...:)t           o March 19, 2017, Witness 6
                                                              also shows that on
           emailed Witness 26, Witness 27, and several other leaders from the School of Medicine
           informing them that he spoke to Complainant in early 2017 2017, letting her know that Kenya was on
           the U.S. Stare Departmrg:i:-vel~              list.



                       ~~~
     It is also unclear when Respondent told Complainant that UCI 's School of Medicine would not
     support her travel to Kenya for the ultrasound trip. However, the evidence shows that on March
     21, 2017, Respondent emailed Complainant letting her know th  that she reviewed the travel

                    0
     warning to Kenya with Witness 26, Associate Vice Chancellor, UCI Health Affairs, and Vice
     Dean, Medical Education, and due to the warning, UCI would not be able to sponsor
     ~ ~t's trip which meant that the school could not provide financial or administrative
     support. Respondent added that Complainant and other students were free to travel to Kenyan
 I"~ \ d ound trip without being "an official [School of Medicine] event." This demonstrares that
                                                                                 restricti
     Respondent and Complainant were engaged in a conversation about travel restrictions    to Kenya
~    V
     and the School of Medicine's non-support of the trip sometime at least since March 21, 2017.

           Additionally, both Witness 6 and Witness 11 indicated that in early 2017 they informed
                                                  , UCI's School of Medicine would not support her
           Complainant that due to "safety reasons"
           ultrasound trip to Kenya. Complainant suggested that had she received earlier notice of her
           application funding denial she would have amended the application for review by the committee.


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     However, in light of the evidence Complainant would not have been able to satisfactorily amend
     her application for approval due to safety reasons, incomplete IRB proposal, and the
     unavailability of a UCI affiliated faculty support at the site of study in Kenya to many examples
     cited in the denial
                                                                                                   *"t),
     Two medical students, Witness 12 and Witness 13, also corroborated that they became aware of C
                                                                                          §
     the School of Medicine's lack of support to their ultrasound trip to Kenya due to the U.S. State
     Department's travel warning sometime in the Winter quarter of 2017. However, both Witness 12
     and Witness 13 indicated that despite the travel warning to Kenya and the lack of support to their
     trip by the School of Medicine, they decided, along with Complainant and several
                                                                                 several other medical
     students, to proceed with their plans to travel to Kenya, which was scheduled from June 6, 2017
                                                                                                 2017,
     until July 3, 2017.


     However, the evidence                                       ,c
     Complainant submitted her IRB proposal for the ultrasound trip to Kenya in early 2017.
                         nce shows that as early as February 2, 2017, Witness 30, former Research
     Coordinator of Ultrasound in Medical Education, warned Complainant that her IRB might not be
     approved due to the travel restrictions to Kenya. Nonetheless,
                                                        Nonetheless, the evidence shows that Witness

                                                          • S>--0 "'v
     30 and Witness 18 continued to help Complainant with her(4,~  IRB proposal. ' For example, on
                                               Complainant, letting her know that her IRB proposal
     February 28, 2017, Witness 30 emailed Complainant,

     not conclude editing her IRB proposal. Notably,
                                              Notably   ~
     needed further editing. Onn May 10, 2017, Witness 30 emailed Complainant the IRB office did
                                                    . , on May 31, 2017,
                                                                      rv'-.J
                                                                           approximately one week
     before Complainant's scheduled ultraso~               en~ \s 18 shared with Complainant a
                                                          multiple
                                                          multi ple edits to her IRB proposal. The
     letter from the IRB office requesting that she make multiple

                                          0,
     continued to work on the IRB proposal.             ~
     evidence further shows that while Complainant and other medical students were in Kenya, they
                                     proposal Several witnesses, including Witness 6, Witness 14,

                                    ~               0
     Witness 26, and Witness 27, said that the IRB process is lengthy and it could take at least six
     months before it is finalized and approved. Further, none of the witnesses indicated that
                           e;~o
     Respondent influenced the processinge;"b-
                                             of the
                                                  ~    mplainant's !RB proposal.
     The preponderance of the evidence supports that Respondent did not arbitrarily make her
                      ~to 5?!r,~ t's ultrasound trip. Further, the evidence supports that
     decision to deny support
  Respondent~ ~;ith •~                • of the School of Medicine's executive team, including
                          27. Both Witness 26 and Witness 27 indicated that after discussing
  Witness 26 and Witness 27.
  Complai~ Yavel plans, all executive team members did not support Complainant's travel
  req~liwt safety reasons because Kenya was listed on the U.S. State Department's travel
  warning list. However, the executive team did not object to Complainant independently traveling
  to Kenya. Further, Witness 26 and Witness 27 said that the executive team did not support
 ~ Qlainant's travel to Kenya because Complainant did not have a UCJ affiliated faculty at the
  research site that Complainant identified in Kenya.

~G   Concerning Complainant's claim that she was subjected to disparate treatment based on a
     protected category because Respondent did not support her ultrasound trip to Kenya, but yet
     supported and funded a white male (Witness 2) student's project in Kenya in 2018 -2019, that the
     preponderance supports that the circumstances surrounding Witness 2' s trip to Kenya were
     different from Complainant's such that there were legitimate, non-discriminatory reasons for the


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     differing treatment. Witness 2's trip to Kenya was in June 2019, two years after Complainant's
     2017 trip, when the U.S. State Department's travel warning varied in-part regarding travel
     restrictions (Exhibits 7, 8, and 17). The 2016/2017 travel warnings stated that "potential terrorist    "Z>,
     threats and the high risk of crime throughout the country," and urge d U.S. citizens to avoid
     traveling to the border between Somalia and Kenya duee to terrorist threats as well as avoiding
                                                                                                     ~
     travel to multiple other cities in the northerneastern region and around the capital. However, in

     travel advice from 1 to 4. In 2019, the travel warning to Kenya was listed at level ~
                                                                                              ~
     2018, the U.S. State Department replaced the previous travel warning system providing levels of
                                                                                                    rcise
                                                                                      ~
     increased caution in Kenya due to crime, terrorism, and kidnapping ... " It urged U.S. citizens to
     avoid traveling to the Kenya-Somali
                                     Somali border and one other area due to crime.


                                                                              6
     Further, Witness 2's trip was part of an already established research site in Kenya under the
     direct supervision of a UCI faculty member, Witness 24, Principal Investigator. Witness 2 and
     Witness 21, a second UCI medical student,, who also traveled to Kenya with Witness 2, were
     listed by Witness 24 on Witness 24' s IRB proposal so they did not   0
                                                                       )(need to have their own IRB
     proposal and approval. Additionally, Witness 2 and Witness ~ a~ led to Witness 24's re search
     site in Kenya as part of their work on Malaria as observers only,
                                                                 only, and they did not collect any data
     from human subjects. Witness 24 and Witness 25 also corroborated that a risk assessment for the
     study sight and risk mitigation plan for Witness2't ~
     documented.
                                                                were     ~"'v'
                                                                 ~ satisfactory and adequately


     Although both Witness 2 and Witness 21 received
     their trip to Kenya after their travel
                                                     -~          (\~
                                                           $1000 each from the School of Medicine for
                                      ravel approval, they raised the remainder of the funds ($1,630) for
     their trip through UC! ZotFunder's we&;~ xhib~ '. (         The
                                                                   vevidence also shows that
     Complainant utilized the same UC! ,0"l"der'S b~ to raise her funds ($17,749) for her trip
     to Kenya (Exhibit 5 and Exhibit 6).6).
                                        6)

                                   c❖ ~~
     Thus, the preponderance of the evidence supports that the School of Medicine did treat

                  -OS;~ ~~~
     Complainant and Witness 2 differently when they denied Complainant funding for her travel to
     Kenya, but provided some funding to Witness 2 to travel to Kenya. However, the preponderance
     of the evidence also supports that the School of Medicine and Respondent had legitimate reasons
                 ~ ~
     to treat thee students differently,
                            differently, including safety and risk concerns, timing, and the nature of the
                           '\,-
     research they intended to perform.
                                  perform. The
                                            T preponderance of the evidence does not support that


         ~o
     Respondent or the School of Medicine considered or utilized the color/race, citizenship,
     origin, or sex in making their decisions

     Non-Accommodations
     Non-Accommodation
     Non Accommodation
                                      decision to deny or approve funding.
                                                                                      citizenshi national




G
~
     Complainant alleged that even though she was registered with DSC, Respondent interfered with
     her ability to obtain reasonable accommodations by suggesting that Complainant had "language
     issues" rather than a disability. Complainant alleged that she lost her housing and failed her Step
     1 exam on multiple occasions due to this interference.

     The evidence supports that on February 17, 2017, Complainant submitted an intake document to
     DSC describing her disability as follows, "I speak multiple languages and that interferes with my


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   information processing time. I would really appreciate if I can get additional time while taking
   exams" (Exhibit 4). Complainant acknowledged that she speaks multiple languages; however,
   Complainant insisted that Respondent erroneously labeled her as having language issues.

   The evidence also shows that on two occasions before Complainant submitting her intake             *"t),
   document form to DSC, on January 23, 2017, Respondent emailed the former Director of DSC          C
   saying in part," .. .I have a wonderful student, [Complainant], who is actually brilliant ~    aks



                                                                                ~~V
   several languages. I have copied her on this email. However, since English is not her first or
   second language, doing well on exams has been a challenge. I realize that this is a language
   comprehension issue. Can you assist us with this? I believe that increased time for exams would
                                                               mailed Respondent to thank her for
   make sense for her ... " (Exhibit I, p. 204). Complainant e-mailed
   sending the e-mail. The evidence further shows that on February 1, 2017, Respondent emailed
   the former DSC Director again saying, "Were you able to see [Compla~           ?] I am worried
   about her-she is so wonderful, and I don't want her language compo nsion to set her back ... "
   (Exhibit 1, p. 204).
                                                                    ~~
   The evidence indicates that on March 1, 2017, the former DSC Director emailed Respondent,
                                                                                          Respondent
   saying, "I am providing this letter of verification for V,.~          of ~          the student's
              related need for accommodations. The student has a professionally documented
   disability-related
   disability and is currently registered with the Disability Service"  Center
                                                                           ~" (Exhibit 1, p. 313). The
                                                                        V
                                                       .   ~




   same email included Complainant's three acoo~              ionreffective
                                                                    \\                  2017 until May
                                                                              March 1, 2017,


                                            ~«, ~~
   31, 2018, including extended time on exams ((time
                                                   time and a half  ), separate testing location (at DSC),
                                                                half),                               DSC)
   and assistive technology (text too speech software). The preponderance of the evidence supports
   that Complainant was able to obtain academic accommodations through DSC and does not

                                 C❖Q ~
   support that Respondent interfered with the process
                                                 process.. Rather, the evidence supports that
   Respondent submitted correspondence in supp     iJ!i,complainant's accommodations and did not
   deny that Complainant had a disability for which she may need accommodations.


                  Co~~~~
   Around November 2017, Complainant met with Witness 3, Senior Disability Speci    Specialist at DSC,
   and discussed                                 NBME Step I exam accommodation application,
   which Complainant filed with NBME shortly after her meeting with Witness 3. On December 1,
   2017, NBME emailed Complainant acknowledging receipt of her application for test
   accommodations
   accommodations for the Step 1 exam. On January 2, 2018, that NBME mailed a letter to
   Complainant
            o '9    arding Complainant's accommodation reques t for the Step 1 exam, informing
   her that NBME was unable to provide her accommodation request because the documentation

   0~
   did not demonstrate a substantial limitation in a major life activity (Exhibit 114). However, the
   preponderance evidence does not support that Respondent influenced NBME' s decision




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 c>regarding their denial in any manner. Further, the evidence suggests that DSC staff provided
   support to Complainant in the accommodation request process with NBME, without interference
   from Respondent.

   When Complainant took her Step 1 exam the first time on May 7, 2017, and ultimately failed,
   Respondent emailed Complainant saying the following,




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                 "I was informed today that unfortunately you did not pass Step 1. I am very sorry to hear
                 this and know that you worked very hard to prepare for the exam. Please do not panic-we
                 will figure out what is your next best course!

                 We really need to reflect on why you think you did not perform to your capability-anxiety~~
                                                                                                       anxiety
                 that is not controlled, readingg issues, prep materials or text taking strategy. Think about

                                                                                       §
                 this a bit and we should meet soon to discuss. I usually strongly recommend a formal
                 prep course in this situation- I know that they are expensive, but they have good results.


                                                                                     ~~
                 For now, you willl complete your current clerkship, then take an academic leave of
                 absence in order to prepare for and pass Step 1 ... " (Exhibit 1, p. 176).

          Respondent's email suggests that Respondent was concerned about Coc ;nant' s success and
          showed a willingness to help Complainant. For example, on June 1, 2018, Respondent informed
                               ,,                  ,,                    e-""- C
          Complainant that she spoke to NBME regarding any possible recourse for additional time due

          as requested in
                          Complainant's                           'S>~          ev'
          to a language issue, but the NBME maintained that they could not provide the accommodation
                                          application. Although the evidence does support that Respondent
          referred to Complainant as having language issues, the • comments do not appear to be assertions
          that Complainant
                                                 C
                                                 ;~~{''\V~
                      ainant did not have a disability and thus should not qualify for accommodations.
          Rather, Respondent appears to refer to
          obtain reasonable accommodations.
                                                                            issues in support of Complainant


          On July 5, 2018, Respondent emailed Complainant again to inform her that NBME would not be
          extending Complainant accommodations for her exam re
                                               C'             ~    re-take.
                                                                       take In the correspondence,
                                                                   re-take
          Respondent apologized to Complainant and asked whether she had signed up for a formal prep



                                       c❖~~<r:,~~°' "
          course to study for the exam (Exhibit
                                         Exhibit 1, p.178).
                                                      178). Further, oon July 20, 2018, Witness 19, former
                                   Services-School
          Director, Financial Aid Services-
                                   Services -School of Medicine, emailed Complainant saying that
          Respondent had approved a loan for $5,225 to  to cover a prep course for Step 1 exam. Although
          the NBME denied Com~                accommodation the preponderance of the evidence supports
                                          t's accommodations,
          that Respondent attempted to provide several instance
                                                          instances of support to Complainant, both in


                     ~~~
                         accommodations and other exam prep advice and opportunities.
          obtaining test accommodations

          In Fall of 2018,
                     2018, Complainant went on an academic leave of absence to study for the Step 1 exam.
          Onn October 18, 2018, Complainant retook her Step 1 exam without accommodation and failed a

           o~o
          second time.
                  time

                                                                  Respondent to discuss her housing
     Complainant claimed that on April 25, 2019, she met with Responden
     problems, specifically that if not allowed to continue living on campus, Complainant would
     problems
 /"~    come "homeless." Complainant alleged that in response, Respondent told her, "If it is that
~   Vdifficult for you, why don't you go back to your country?" Complainant felt that Respondent's
     statement was discriminatory and that she was targeted based on her national origin. Although
     there were no witnesses present when Respondent allegedly made this statement to Complainant,
     at least one witness, Witness 27, who worked closely with Respondent and Complainant, said, "I
     can't picture" Respondent making such a statement to Complainant, because Respondent always
     supported Complainant. Moreover, Witness 26 and Witness 27 indicated that Complainant and


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   Respondent had a miscommunication and/or "bad communication" between each other.
   However, even if Respondent made this comment as alleged, the preponderance of the evidence
   supports that Respondent was attempting to help Complainant based on the circumstances and
   context of the comment. The preponderance does not support that Respondent made the
   comment to harass Complainant on the basis of her national origin. Further, a single comment in *"t),
                                                                                                  C
   this context is insufficient to demonstrate discriminatory animus and is insufficient to support a

   Complainant's connection to Kenya because Complainant grew up and had family there,   §
   hostile environment. Although Complainant is a U.S. Citizen, Respondent was also aware of
                                                                                        there, which
   may have contributed to Respondent's belief that Complainant might consider going back to
   Kenya.

   Witness 3 and Witness 16 from DSC continued to help Complainant. Around Around May 2019,
   Complainant disclosed to Witness 16 that she was no longer enrolled as a UCI medical student
   and was no longer eligible to live on-campus
                                                             ,c
                                              pus housing because she did not pass her Step 1 exam.
   Witness 16 told Complainant that she would support Complainant to continue living on campus
   until June 30, 2019, so that she could find a new place. Also, it is worth mentioning
                                                                              mention    that graduate
   housing is very competitive and requires that students be actively enrolled to obtain and remain
                                                           n~ '-
                                                        -~"YJ ~'v
   in graduate housing.


   appeal NBME's decision regarding Comp!~              " $ (\    'V
   Around November 2019, Witness 16 helped Complainant fill out the necessary paperwork to
                                                        accommodation    request This suggests that
                                                                         request.
   DSC continued to support Complainant (who was also registered with their office) and that
   Respondent did not stifle Complainant'~ ~ to Uni        Q h<   resources or accommodation
                                        Q",,,
   assistance. In the summer of 2020, the NBME ultimately
                                                        ' \;Ywited Complainant's appeal request
                                         one--half accommodation for her Step 1 exam.
                                         one
   and offered Complainant a time and one-half                                    exam Complainant
   then re-took her Step 1 exam and passed. However, the preponderance of the evidence does not
   support that NBME's decisio~            uenced~        spondent's participation or non-participation
   in the process, but rather a troubleshooting effort by Complainant and DSC to improve
                          e;~            e;"b-~
   Complainant's accommodation application.

                    ~
   Thus,, the preponderance
                                     ~
              preponderance of the evidence does not support that Respondent propagated that
   Complainant did not have a disability with DSC, Housing staff
                                                ability to obtain
                                                                 staff, or NBME administrators or that
                                                                  accommodations. Rather, the
   Respond&            ed with ~       ainant's
   evidence supports that Complainant was able to obtain academic accommodations on-campus

      $
   and received at least oone additional month to move-out of her housing with support from DSC.
   Further, the evidence does not support tthat Respondent interfered with or influenced
   Q       amant's accommodation request to the NBME and ultimate denial. However, DSC




~
 c>continued to provide support to Complainant in the appeal process, suggesting that Respondent
   did not negatively impact Complainant' s access to support resources or accommodations.
   Further, the preponderance of the evidence does not support that Respondent was responsible for
   Complainant' s ineligibility for graduate housing. Additionally, the preponderance of the
   evidence does not support that Respondent demonstrated discriminatory animus when she told
   Complainant that she should go back to her country, although Complainant is a U.S. citizen.




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 CONCLUSION:

 The preponderance of the evidence does not support that Respondent treated Complainant
 differently based on her color/race, citizenship, national origin, and sex when Respondent did not
 sponsor Complainant's project in Kenya in 2016-2017, yet granted approval and funding for a
 male student's project in Kenya in 2018 -2019, in violation of the Nondiscrimination Policy
 Statement for the University of California Publications Regarding Student-Related
                                                                              Related Matters,
                                                                                      Matters, UC
 Policy on Discrimination, Harassment, and Affirmative Action in the Work Place,, and UCI
 Guidelines on Discrimination and Harassment.

 The preponderance of the evidence does not support that Respondent demonstrated
 discriminatory animus when she told Complainant that she should go back to her country,
 although Complainant is a U.S. citizen, in violation of the Nondiscrimination Policy Statement
 for the University of California Publications Regarding Student-Related
                                                                  Related Matters,
                                                                           Matters UC Policy on
                                                                   Place, and UCI Guidelines on
 Discrimination, Harassment, and Affirmative Action in the Work Place
 Discrimination and Harassment.

 The preponderance of the evidence does not support that Respondent propagated that
 Complainant did not have a disability.. Further, the evidence does not support that Respondent
                                          accommodations causing her to lose her housing and fail
 the Step 1 exam on multiple occasions in violation of the Nondiscrimination Policy Statement for
                                                       Student Related Matters,
 the University of California Publications Regarding Student-Related   Matters UC Policy on
                                                                   Place, and UCI Guidelines on
 Discrimination, Harassment, and Affirmative Action in the Work Place
 Discrimination and Harassment.

 Prepared by:




 __________________
   ________________                                        Date: January 25, 2021
 Raid Faraj
 Senior Investigator
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